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                           ASSET PURCHASE AGREEMENT


                                   BY AND AMONG


         SANCTUARY CARE LLC AND SANCTUARY AT RYE OPERATIONS LLC

                           COLLECTIVELY,AS"SELLER"


                                        AND


                            NBR ACQUISITION RYE,LLC

                                    AS"BUYER"




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                              ASSET PURCHASE AGREEMENT

This Asset Purchase Agreement (this "Agreement") is made as of March 8, 2017, by and among
SANCTUARY CARE LLC, a New Hampshire limited liability company, and SANCTUARY
AT RYE OPERATIONS LLC, a New Hampshire limited liability company (collectively,
"Seller"), and NBR ACQUISITION RYE, LLC, a Delaware limited liability company


                                         R ECITALS

        A.      Seller owns the Assets which include the Senior Housing Facility described on
 Exhibit B attached hereto; and

        B.      Seller desires to sell and Buyer desires to purchase the Assets upon and subject to
 the terms and conditions set forth herein.

                                       A GREEMENT

 NOW,THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, Seller hereby agrees to sell and Buyer hereby agrees to purchase the
 Assets upon and subject to the following terms and conditions:

                                  ARTICLE 1: DEFINITIONS

         1.1. Definitions. Initially capitalized terms which are used but not otherwise defined
 in this Agreement shall have the meanings ascribed to them in Exhibit A attached hereto and
 incorporated herein by this reference.

            ARTICLE 2: CONSIDERATION,DEPOSIT AND ESCROW PROVISIONS

         2.1. Purchase Price. The Purchase Price, subject to the prorations and adjustments set
 forth herein, shall be paid as follows:

               (a)      Within two (2) business days after the execution and delivery of this
Agreement, Buyer shall deliver to Escrow Agent, in immediately available funds, a cash deposit
in the amount of One Hundred Thousand and 00/100 Dollars ($100,000.00) (the "Initial
Deposit"). The Deposit is not property of any bankruptcy estate. Within one (1) business day
after the final day of the Due Diligence Period, unless Buyer has exercised its right to terminate
this Agreement under Section 3.2 hereof, Buyer shall deliver to Escrow Agent, in immediately
available funds, an additional cash deposit in the amount of One Hundred Thousand and 00/100
Dollars ($100,000.00)(such additional deposit, together with the Initial Deposit with all interest
earned on any such deposited funds, shall hereinafter be referred to collectively as the
"Deposit"). The Deposit shall not be subject to any lien, attachment, trustee process, or any
other judicial process of any creditor of Seller or Buyer. Interest accrued on the Deposit shall
become a part of the Deposit and shall be paid to the party entitled to the Deposit. The Deposit
shall be credited to the Purchase Price if the Closing occurs, and otherwise distributed pursuant
to this Agreement;



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               (b)     The balance of the Purchase Price shall be paid by wire transfer in same
 day funds at the time of Closing.

 Notwithstanding the foregoing:

(1)      if this Agreement is terminated by Buyer as a matter of right in accordance with the terms
 of this Agreement, then the Deposit, together with all accrued investment income or interest
thereon, shall be returned to Buyer within two (2) business days immediately upon termination
shall be Buyer's sole and exclusive remedy for any damages of any kind that Buyer may suffer
 as a result ofthe Closing not being consummated with Buyer in accordance with this Agreement.

       Unless this Agreement has been validly terminated in accordance with its terms (in which
case Section 2.1(1) or (8.2) shall control), in the event that Buyer is not the Successful Bidder
following the Auction, the Escrow Agent shall return the Deposit to Buyer no later than two (2)
business days after the entry of the Sale Order by the Bankruptcy Court with respect to the
Alternative Transaction involving the Successful Bidder. Notwithstanding any provision of this
Section 2.1, nothing in this Section 2.1 shall be deemed to release any party from liability for
fraud or willful misconduct.

           2.2.   Deposit; Escrow Agent.

              (a)      Upon receipt from Buyer of the Deposit, Escrow Agent shall invest the
Deposit in an interest-bearing account or money market fund mutually acceptable to Seller and
Buyer. Escrow Agent shall agree to hold and dispose of the Deposit in accordance with the
terms and provisions of this Agreement. If the Closing occurs, any interest on the Deposit shall
be credited to Buyer and applied to the Purchase Price. If the Closing does not occur, any
interest earned on the Deposit shall follow the Deposit.

               (b)      The parties hereto do hereby certify that they are aware that the Federal
Deposit Insurance Corporation ("FDIC") coverages may apply only to a cumulative maximum
amount of $250,000 for each individual deposit for all of depositor's accounts at the same or
related institution. The parties hereto further understand that certain banking instruments such
as, but not limited to, repurchase agreements and letters of credit are not covered at all by FDIC
insurance. Further the parties hereto understand that Escrow Agent assumes no responsibility
for, nor will the parties hereto hold Escrow Agent liable for, any loss occurring which arises
from the fact that the amount of the above account may cause the aggregate amount of any
individual depositor's accounts to exceed $250,000 and that the excess amount is not insured by
the Federal Deposit Insurance Corporation or that FDIC insurance is not available on certain
types of bank instruments.

        2.3. Escrow Provisions. Escrow Agent agrees to hold, keep and deliver the Deposit
and all other sums delivered to it pursuant hereto in accordance with the terms and provisions of
this Agreement. Escrow Agent shall not be entitled to any fees or compensation for its services
hereunder other than its customary one-time escrow fee. Escrow Agent shall be liable only to
hold said sums and deliver the same to the parties named herein in accordance with the
provisions of this Agreement, it being expressly understood that by acceptance of this Agreement
Escrow Agent is acting in the capacity of a depository only and shall not be liable or responsible


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to anyone for any damages, losses or expenses unless same shall have been caused by the gross
negligence or willful malfeasance of Escrow Agent. In the event of any disagreement between
Buyer and Seller resulting in any adverse claims and demands being made in connection with or
for the monies involved herein or affected hereby, Escrow Agent shall be entitled to refuse to
comply with any such claims or demands so long as such disagreement may continue; and in so
refusing Escrow Agent shall make no delivery or other disposition of any of the monies then held
by it under the terms of this Agreement, and in so doing Escrow Agent shall not become liable to
anyone for such refusal; and Escrow Agent shall be entitled to continue to refrain from acting
until (a) the rights of the adverse claimants shall have been finally adjudicated in a court of
competent jurisdiction of the monies involved herein or affected hereby, or (b) all differences
shall have been adjusted by agreement between Seller and Buyer, and Escrow Agent shall have
been notified in writing of such agreement signed by the parties hereto. Escrow Agent shall not
be required to disburse any of the monies held by it under this Agreement unless in accordance
with either a joint written instruction of Buyer and Seller or an Escrow Demand from either
Buyer or Seller in accordance with the provisions hereinafter. Upon receipt by Escrow Agent
from either Buyer or Seller (the "Notif~g PartX") of any notice or request (an "Escrow
Demand")to perform any act or disburse any portion of the monies held by Escrow Agent under
the terms of this Agreement, Escrow Agent shall give written notice to the other party (the
"Notified Party"). If within five (5) days after the giving of such notice, Escrow Agent does not
receive any written objection to the Escrow Demand from the Notified Party, Escrow Agent shall
comply with the Escrow Demand. If Escrow Agent does receive written objection from the
Notified Party in a timely manner, Escrow Agent shall take no further action until the dispute
between the parties has been resolved pursuant to either clause (a) or(b) above. Further Escrow
Agent shall have the right at all times to pay all sums held by it (i) to the appropriate party under
the terms hereof, or (ii) into any court of competentjurisdiction after a dispute between or among
the parties hereto has arisen, whereupon Escrow Agent's obligations hereunder shall terminate.
Seller and Buyer,jointly and severally agree to indemnify and hold harmless said Escrow Agent
from any and all costs, damages and expenses, including reasonable attorneys' fees, that said
Escrow Agent may incur in compliance with and in good faith in accordance with the terms of
this Agreement; provided, however, this indemnity shall not extend to any act of gross
negligence or willful malfeasance on the part of the Escrow Agent.

       2.4. Payment of Monies. Any monies payable under this Agreement, unless otherwise
specified in this Agreement, shall be paid by wire transfer or certified or cashier's check.

                            ARTICLE 3: ACCESS;INSPECTIONS

        3.1. Seller's Delivery of Specified Documents. To the extent previously requested but
not already delivered to Buyer, within three (3) days after the execution and delivery of this
Agreement, Seller shall deliver to Buyer true, correct and complete originals or copies of each
item described in Exhibit G attached hereto (the "Seller Deliverables") in Seller's possession or
control. To the extent not previously requested, within five (5) days after the written request
from Buyer to Seller, Seller shall deliver to Buyer true, correct and complete originals or copies
of each Seller Deliverable in Seller's possession or control. To the extent any of the Seller
Deliverables contain individually identifiable health information regarding the Seller's patients,
the Buyer agrees to treat same as Protected Health Information under the Health Insurance
Portability and Accountability Act of 1996(HIPAA).

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          3.2. Access and Inspection Rights.             Buyer and its agents, employees and
 representatives, contractors and consultants shall at any time, and from time to time, between the
 Effective Date and the Closing Date, have reasonable access during normal business hours to the
 Facility and all books and records for the Facility that are in Seller's possession or control for the
 purpose of conducting surveys, inspections, tests and studies, including, without limitation,
 engineering, geotechnical and environmental inspections and tests. In the course of its
 investigation of the Assets, Buyer may make inquiries to third parties, including, without
 limitation, lenders, contractors, parties to Service Contracts and municipal, local and other
 government officials and representatives. Seller shall cooperate with Buyer's due diligence
 during normal business hours so long as Buyer gives at least twenty-four (24) hours' notice to
 Seller, conducts such due diligence during normal business hours and is not disruptive to the
 operation of Seller's business at the Facility. If Buyer is not satisfied in its sole discretion with
 any of survey, inspection, test or study or with any other matter concerning the Assets, or for no
 reason, Buyer may terminate this Agreement by written notice given to Seller on before the date
 of expiration of the Due Diligence Period, in which event this Agreement shall be null and void
 and no party shall have any further obligation hereunder, except as specifically set forth herein.
 Without limiting the foregoing, unless Buyer shall give written notice to Seller on or before the
 expiration of the Due Diligence Period that Buyer has waived its right to terminate this
 Agreement as aforesaid, Buyer shall be deemed to have elected to terminate this Agreement
 under this Section 3.2, in which event the Agreement shall be null and void and no party shall
 have any further obligation hereunder, except as expressly set forth herein. For purposes of
 clarity, Buyer may terminate this Agreement for any reason, or no reason, prior to the expiration
 of the Due Diligence Period, in which case the Deposit, and interest thereon, shall be promptly
 returned to Buyer.

           3.3.   Title and Survey Review.

               (a)       Buyer shall have the right to obtain a title commitment for owner's title
 insurance policy (the "Title Commitment") and survey of the Real Property (the "Survey").
 Buyer shall give notice to Seller of any objection to any exception or other matter shown in the
 Title Commitment or Survey on or before the date of expiration of the Due Diligence Period. If
 Buyer makes any such written objection, then Seller shall use best efforts to cure such objection
 prior to Closing. Without limiting the foregoing, Seller shall be obligated to fully discharge on
 or before Closing (i) all mortgages, security interests and other monetary liens and encumbrances
 of a definite and ascertainable amount (each a "Monetar.~"),and (ii) any exceptions or
 encumbrances to title or survey matters which arise after the date of the Title Commitment or the
 Survey. If Buyer fails to give written notice to Seller of any objection to title or survey within
 the Due Diligence Period, then Buyer shall be deemed to have approved the state of title and
 survey, except for Monetary Liens and any matters which arise after the date of the Title
 Commitment or Survey. Notwithstanding anything to the contrary set forth in this Section 3.3
(a), entry of the Sale Order shall satisfy Seller's obligation to remove all Monetary Liens as long
 as the effectiveness of the Sale Order is not stayed.

              (b)       If Seller fails to cure an objection to title or survey in the manner set forth
 above, then Buyer may elect, on or prior to the Closing Date, to (i) terminate this Agreement, in
 which event the Deposit and all interest earned thereon shall be returned to Buyer and no party
 shall have any further obligations hereunder, except as specifically set forth herein, or (ii) accept

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the Assets subject to such objections and proceed to Closing, with the further right to deduct
from the Purchase Price amounts secured by any Monetary Lien which Seller has failed to
remove as provided herein. If Buyer makes no such election, then Buyer shall be deemed to
have elected to waive its right to terminate this Agreement as provided above in this Section
3.3(b).

        3.4.    Service Contracts. Prior to the expiration of the Due Diligence Period, Buyer
shall notify Seller in writing as to which Service Contracts, if any, Buyer may assume. The Sale
Motion shall include a procedure to establish any cure obligations required under 11 U.S.C. 365
to permit an assumption and assignment of the Service Contracts identified by the Buyer. Buyer
is responsible for any such cure obligations, monetary or otherwise. The cure amounts set forth
in the Sale Order shall be binding on all counterparties to the Service Contracts. Buyer shall
notify Seller of which Service Contracts it shall assume (the "Accepted Service Contracts") by
giving written notice of its intention to assume the Service Contract five (5) days prior to the
Closing Date. If Buyer does not identify a Service Contract for assumption five (5) days prior to
the Closing Date, then Buyer shall be deemed to have elected to not assume such Service
Contract. The Sale Order shall provide that the Assets shall be transferred free and clear of all
Service Contracts that Buyer does not elect to assume as aforesaid (the "Excluded Service
Contracts"), with any and all termination expenses and costs therefor to be the responsibility of
Seller.

          3.5.   Employees.

              (a)      On the Closing Date, Seller shall terminate all Employees and take such
other action as may be required by any applicable laws, rules, regulations and orders such that
Buyer shall have no liability for any matter concerning any Employee which accrued prior to
Closing except for accrued vacation and other accrued paid time off and benefits ("Accrued
Employee Benefits") related to any Employee hired by Buyer at Closing with respect to which
Buyer receives a credit in accordance with the provisions of Section 6.4 hereof. Except for any
Accrued Employee Benefits for which Buyer receives a credit at Closing as aforesaid, Buyer is
assuming no liability attributable to any Employee which accrued prior to Closing. Seller shall
be solely liable to pay to its Employees all severance and Accrued Employee Benefits to which
the Employees are entitled through the Closing Date, except for any Accrued Employee Benefits
for which Buyer receives a credit at Closing as aforesaid. Seller shall indemnify, defend and
hold Buyer and its assigns from and against any and all losses, damages, costs and expenses,
including, without limitation, attorneys' fees and costs, arising from any claim made by any
Employee relating to matters occurring prior to Closing, except for any claim by any Employee
hired by Buyer for Accrued Employee Benefits for which Buyer receives a credit at Closing as
aforesaid.

              (b)     Notwithstanding any provision hereof to the contrary, at any time during
the term of this Agreement, Buyer may discuss employment arrangements with any Employee
and may make offers of employment to any Employee contingent upon Closing occurring
hereunder and otherwise upon such terms and conditions of employment, compensation and
benefits as Buyer shall determine in its sole discretion. Seller hereby consents to the hiring of
any Employee by Buyer upon Closing and waives, with respect to the employment by Buyer of
any Employee, any claims or rights that Seller may have against Buyer or any Employee under

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 any non-competition, confidentiality or employment agreement. Seller shall cooperate with
 Buyer's process of interviewing the Employees.

         3.6. CCRs. If the Assets are subject to any declaration of covenants, conditions and
 restrictions or similar instrument ("CCRs") governing or affecting the use, operation,
 maintenance, management or improvement of the Assets, then, as a condition to Buyer's
 obligation to close, Seller shall deliver at Closing: (i) an estoppel certificate, in form and
 substance reasonably satisfactory to Buyer, from the declarant, association, committee, agent
 and/or other person or entity having governing or approval rights under the CCRs, and (ii) a
 recordable assignment, in form and substance satisfactory to Buyer, assigning any and all
 developer, declarant or other related rights or interests of Seller (or any Affiliate of Seller) (if
 any) pursuant to any CCR.

                   ARTICLE 4: OPERATIONS; RISK OF LOSS; LICENSING

           4.1.   Ongoing Operations. From the Effective Date through the Closing Date:

                (a)     Operation of Assets; Construction. Seller shall continue to own the Assets
 and to operate the Facility (or cause the Facility to be operated) as it has in the past and shall not
 engage in any transactions outside the ordinary course of business. Seller shall maintain the
 Facility (or cause the Facility to be maintained) in substantially its current condition and in
 compliance with all applicable laws, regulations and Permits. Except as necessary to comply
 with the preceding sentence, Seller shall not make (or suffer or permit to be made) any
 renovations, alterations, or capital expenditures to the Facility or any portion thereof costing
 more than $10,000, individually or in the aggregate, or enter into any contracts or agreements
(whether binding or not) regarding any such renovations, alterations, or capital expenditures.
 Seller will perform (or cause to be performed) all of the obligations of Seller under the
 Residency Agreements, the Leases, the Service Contracts and all other agreements that may
 affect the Facility.

                  (b)   Listings and Other Offers.

                      (i)      Between the date of this Agreement and the Bankruptcy Court's
entry of the Bidding Procedures Order (the "Non-Solicitation Period"), Seller shall not, nor shall
it authorize or permit any officer, director, manager, or employee of, or any investment banker,
attorney or other advisor, agent, or representative of, Seller or any Affiliate or Non-Debtor
Subsidiary (collectively, "Seller Representatives"), enter into an Alternative Transaction or
negotiate the terms of an Alternative Transaction; provided, however, that during the Non-
Solicitation Period, so long as Seller is not otherwise in breach of this Agreement, nothing in this
Agreement shall prohibit Seller or Seller Representatives from entering into confidentiality
agreements with any entity or furnishing to any entity any information relating to the Assets with
respect to any proposal or expression of interest that constitutes, or which may lead to, a
Qualified Bid; and provided further, however, that Seller shall not execute any Alternative
Transaction prior to the Bankruptcy Court's entry of the Bidding Procedures Order.

                    (ii)    Following entry of the Bidding Procedures Order, Seller and Seller
Representatives shall not be subject to any restrictions with respect to the solicitation or


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 encouragement of any entity concerning the potential or actual submission of a Qualified Bid in
 accordance with the Bidding Procedures Order.

                      (iii) Within twenty-four(24) hours after Seller's receipt of any offer for
 an Alternative Transaction, Seller must deliver to Buyer, in writing, true and complete copies of
 any such Alternative Transaction.

               (c)     Removal and Replacement of Tangible Personal Property; Transfer or
 Conveyance of Other Property. Seller will not remove or suffer or permit to be removed any
 Personal Property from the Facility except as may be required for necessary repair or
 replacement in the ordinary course of business. Without limiting the foregoing, all repairs and
 replacements shall be of equivalent quality and quantity as existed as of the time of removal of
 the applicable Personal Property. Except as permitted by the preceding sentence, Seller shall not
 make (or suffer or permit to be made)any transfers or conveyances of the Assets.

               (d)      Maintenance of Insurance. Seller shall carry worker's compensation,
 commercial general liability insurance (with coverage in the amount of at least $1 million per
 occurrence and in the aggregate) and property damage insurance for the full replacement value of
 the Improvements through the Closing Date. Seller shall not allow any breach, default,
 termination or cancellation of any such insurance policies or agreements to occur or exist prior to
 Closing.

                (e)     Maintenance of Permits. Seller shall maintain (or cause to be maintained)
 in existence all Permits in full force and effect.

               (fl    Employee Hirin g/Compensation. Seller shall not hire any new employee,
 increase the compensation or benefits of any Employee or enter into any contracts or agreements
(whether binding or not) regarding any increase of the compensation or benefits of any
 Employee except in the ordinary course of business.

                (g)       Incurrence of Indebtedness. Seller shall not incur any indebtedness or
 other liabilities other than in the ordinary course of business and consistent with past practices or
 enter into any contracts or agreements (whether binding or not) regarding the incurrence of any
 such indebtedness or other liabilities. Buyer acknowledges that Seller will seek Court approval
 of Debtor-in-Possession financing during the course of Seller's Chapter 11 proceeding.

             (h)     Conditions of Units. On the Closing Date, all senior housing units on the
Assets which were vacant on the date fourteen (14) days before the Closing Date shall be clean,
have been repainted, if necessary, have appliances in good working order, have carpeting
replaced if necessary, and be otherwise "rent ready", all in accordance with Seller's past
practices.

              (i)    Approvals. Seller shall work diligently and cooperate with Buyer to
obtain all waivers, consents, approvals and authorizations required in connection with the
transactions contemplated hereunder, including without limitation all licenses and approvals
required by governmental agencies charged with regulating or licensing senior housing facilities.



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               (j)     Operating Statements and Occupancy Reports. Seller shall deliver to
Buyer copies of the monthly interim Operating Statements and Rent Roll for the Facility within
fifteen (15)days after the expiration of each month, commencing with [February 1], 2017. Seller
shall deliver weekly occupancy reports for the Facility on or before Wednesday of each week
during the term hereof(covering occupancy for the prior week).

              (k)    Agreements to Effect Prohibited Actions. Seller will not enter into any
contracts or agreements (whether binding or not) regarding any of the matters prohibited by
paragraphs above.

        4.2. Damage. Risk of loss with respect to the Real Property up to and including the
Closing Date shall be borne by Seller. Seller shall promptly give Buyer written notice of any
damage to the Facility, describing such damage, stating whether such damage and loss of rents is
covered by insurance and the estimated cost of repairing such damage. In the event of any
material damage (described below)to or destruction of the Facility or any portion thereof, Buyer
may, at its option, by notice to Seller given within ten (10) business days after Seller has
provided the above described notice to Buyer together with all relevant information concerning
the nature and extent of such damage: (i) terminate this Agreement, in which event the Deposit
and all interest earned thereon shall be returned to Buyer and no party shall have any further
obligations hereunder, except as expressly set forth herein, or (ii) proceed under this Agreement
as to all of the Assets, receive any insurance proceeds (including any rent loss insurance
applicable to any period on and after the Closing Date) due Seller as a result of such damage or
destruction and assume responsibility for such repair, and Buyer shall receive a credit at Closing
for any deductible, uninsured or coinsured amount under said insurance policies. If Buyer fails
to timely make such election, Buyer shall be deemed to have elected to proceed under clause (ii)
above. If the Facility is not materially damaged, then (A) Buyer shall not have the right to
terminate this Agreement,(B) Seller shall, to the extent requested and directed by Buyer, repair
the damage before the Closing in a manner reasonably satisfactory to Buyer, and (C)at Closing,
Buyer shall receive any insurance proceeds (including any rent loss insurance applicable to any
period on and after the Closing Date) due Seller as a result of such damage or destruction and
Buyer shall receive a credit at Closing for any deductible, uninsured or co-insured amount under
said insurance policies. To the extent Seller has incurred reasonable costs in effecting the repairs
requested and directed in writing by Buyer(which costs have not been assumed by Buyer), Seller
shall be paid a portion of such insurance proceeds in an amount equal to such costs. "Material
damage" and "materially dama~" means, with respect to the Facility, damage (x) which, in
Buyer's reasonable estimation, exceeds $150,000 to repair, or (y) which, in Buyer's reasonable
estimation, will take longer than sixty (60) days to repair or restore.

        4.3. Condemnation.          In the event any proceedings in eminent domain are
contemplated, threatened or instituted by anybody having the power of eminent domain with
respect to the Real Property or any portion thereof, Buyer may, at its option, by notice to Seller
given within ten (10) business days after Seller provides written notice to Buyer of such
proceedings together with all relevant information concerning such proceedings: (i) terminate
this Agreement, in which event the Deposit and all interest earned thereon shall be returned to
Buyer and no party shall have any further obligations thereunder, except as expressly set forth
herein, or (ii) proceed under this Agreement as to all of the Assets, in which event Seller shall, at
the Closing, assign to Buyer its entire right, title and interest in and to any condemnation award,

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and Buyer shall have the sole right during the pendency of this Agreement to negotiate and
otherwise deal with the condemning authority in respect of such matter. If Buyer fails to timely
make such election, Buyer shall be deemed to have elected to proceed under clause (ii) above.

                                   ARTICLE 5: CLOSING

          5.1.   Sale Motion.

               (a)      Within five (5) days following expiration of the Due Diligence Period,
Seller shall file original petitions for relief under Chapter 11 of the Bankruptcy Code in the
Bankruptcy Court.

              (b)      Seller hereby agrees to file, and not withdraw without Buyer's consent, the
Sale Motion and the Bid Procedures Motion promptly following the Due Diligence Period (and
in no event later than five (5) days thereafter) seeking (i) entry by the Bankruptcy Court of the
Bidding Procedures Order and (ii) Bankruptcy Court approval of this Agreement and the
transactions contemplated hereby, subject to higher or otherwise better offers. Such Sale Motion
and Bid Procedures Motion shall be subject to Buyer's prior reasonable approval.

             (c)     Seller shall seek a hearing on the Bid Procedures Motion on an emergency
basis at the Bankruptcy Court's earliest availability, and obtain an order approving bid
procedures reasonably acceptable to Seller and Buyer no later than ten (10) days after the filing
date ofthe Bid Procedures Motion.

              (d)      During the pendency of the Bankruptcy Court proceedings, Seller shall be
permitted to use the names "Sanctuary Care LLC" and "Sanctuary at Rye Operations LLC" as its
corporate names in connection with matters relating to the Bankruptcy Case and as a former
name for legal and noticing purposes but for no other commercial purpose. After the Closing,
Seller shall conduct no further commercial activity using the names "Sanctuary Care" and
"Sanctuary at Rye" or any derivatives thereof.

              (e)     The Bid Procedures Motion shall seek to schedule the Auction and Sale
Hearing under section 363 and 365 of the Bankruptcy Code to occur no later than thirty (30)
days after the approval of the Bid Procedures Order. The Bid Procedures Motion and the Sale
Motion shall seek a waiver of the 14-day stay of the Bidding Procedures Order and the Sale
Order imposed by Bankruptcy Rule 6004.

              (~       Any changes to the form ofthe Sale Order affecting the economic terms of
the transactions contemplated by this Agreement or the closing conditions hereof must be
approved by Buyer in its sole and absolute discretion and Seller in its sole and absolute
discretion. Any other changes to the form of the Sale Order must be approved by Buyer and
Seller each acting reasonably.

               (g)     Except as otherwise set forth in this Agreement to the contrary with
respect to the any purchase price adjustment amounts set forth in Article 6, the Bankruptcy Court
retains exclusive jurisdiction to interpret and enforce the provisions of this Agreement, the
Bidding Procedures Order, and the Sale Order in all respects; provided, however, thati in the
event the Bankruptcy Court abstains from exercising or declines to exercise jurisdiction with

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respect to any matter provided for in this clause or is without jurisdiction, such abstention,
refusal or lack ofjurisdiction shall have no effect upon and shall not control, prohibit, or limit the
exercise ofjurisdiction of any other court having competent jurisdiction with respect to any such
matter.

               (h)     In the event the Sale Order is appealed and is not stayed, Buyer and Seller
shall close on the purchase and sale of the Assets in accordance with the terms of this Agreement
and the Sale Order and Seller shall use its best efforts to defend such appeal following Closing.
Seller shall keep Buyer reasonably informed of the status of its efforts to obtain the entry of the
Sale Order. Buyer shall reasonably cooperate with Seller in connection with the foregoing, at no
cost or expense to Buyer.

         5.2. Closing. Upon the Bankruptcy Court's approval of the terms and conditions of
 this Agreement and the entry of the Sale Order approving the Buyer, and subject to the
 Conditions Precedent, the consummation of the transactions contemplated herein (the "Closing")
 shall occur on or before the later o£ (1) seven (7) business days following the entry of the Sale
 Order or (2) the third (3`a)business day following the satisfaction of the Conditions Precedent.
 Notwithstanding the foregoing, if the Closing does not occur on or before June 15, 2017, either
 party may immediately terminate this Agreement, in which case the Deposit shall be returned to
 Buyer within two (2) business days pursuant to this Agreement; provided, however, that Buyer
 may, in its sole discretion, elect, by written notice given to Seller on or before June 15, 2017,
 along with a payment in the amount of Seventy-Five Thousand and 00/100 Dollars ($75,000.00)
(the "Extension Pa.  ~")to extend the time to close for thirty (30) days. Such Extension
 Payment shall be used by the Seller to cover a portion of the operating costs during the thirty
(30) day window, shall be treated as an increase of the Purchase Price and shall be applied to the
 Purchase Price at Closing. If the Closing does not occur within such additional thirty (30) day
 window, either party may immediately terminate this Agreement, in which case the Deposit shall
 be returned to Buyer within two (2) business days pursuant to this Agreement. The date of
 Closing shall be referred to herein as the "Closing Date." The Closing shall be effectuated
 through an escrow with the Escrow Agent. Buyer and Seller shall execute such supplemental
 escrow instructions as may be reasonably requested by either party or Escrow Agent to comply
 with the terms of this Agreement, so long as such instructions are not in conflict with this
 Agreement.

       5.3. Conditions to the Parties' Obligations to Close (collectively, the "Conditions
Precedent").

               (a)     Conditions to Buyer's Obligation to Close. As a condition to Buyer's
obligation to close with respect to the Assets on the Closing Date:

                      (i)      The Bankruptcy Court:

                                      (1)      Shall have entered the Sale Order and the Sale
Order shall not be stayed;




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                                  (2)    The Sale Order shall approve this Agreement and
the consummation of the Transaction upon the terms and subject to the conditions set forth in
this Agreement;

                                      (3)     The Sale Order finds that, as of the Closing Date,
the transactions contemplated by this Agreement effect a valid, legal, enforceable, and effective
sale and transfers of the Assets to Buyer and shall vest Buyer with title to such Assets free and
clear of all Encumbrances. For purposes of clarity, the Sale Order shall provide that Buyer is
acquiring the Assets free and clear of Seller's Experience Modification Rate;

                                   (4)    The Sale Order finds that the consideration
provided by the Buyer pursuant to this Agreement constitutes reasonably equivalent value and
fair consideration for the Assets;

                                     (5)     The Sale Order authorizes the Sellers' to assign any
Accepted Service Contracts, finds that such assignments to the Buyer are effective as of the
Closing Date, and expressly enjoins the parties to each such Accepted Service Contracts from
asserting against Buyer or any of the Assets any default, claim, liability, or other cause of action
existing as of the Closing Date, whether or not previously asserted;

                                    (6)      The Sale Order finds that the Buyer is a good faith
purchaser subject to the protections of Section 363(m) of the Bankruptcy Code and that the
transaction was negotiated at arms' length, was not the product of collusion, and is not avoidable
pursuant to Section 363(n); provided, however, that if any party in interest objects to the
Bankruptcy Court's Section 363(m) finding at the sale hearing, then the Sale Order must also be
a Final Order;

                                     (7)     The Sale Order finds that the Seller gave due and
proper notice of the Sale Motion to each party entitled thereto;

                                     (8)     The Sale Order finds that the Buyer is not a
successor to the Seller or the bankruptcy estate by reason of any theory of law or equity, and the
Buyer shall not assume or in any way be responsible for any liability of Seller or its bankruptcy
estate except as otherwise expressly provided in this Agreement; and

                                    (9)      Orders that the Sale Order be expressly binding
upon any trustee in the event of conversion of the bankruptcy case of the Seller to a case under
chapter 7 or the appointment of a chapter 11 trustee.

                      (ii)      The representations and warranties of Seller contained herein shall
be true and correct in all material respects as ofthe Effective Date and as of the Closing Date.

                    (iii) There shall be no default with respect to any material obligation of
Seller hereunder which Seller has not cured within twenty (20) days after written notice from
Buyer.

                      (iv) There shall be no notice issued after the Effective Date of any
material violation or alleged violation of any law, rule, regulation or code, including, without

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limitation, any building code, with respect to the Facility, which has not been corrected to the
satisfaction of the issuer of the notice.

                    (v)     There shall be no material default on the part of Seller or any other
party under any agreement to be assigned to, or obligation to be assumed by, Buyer under this
Agreement.

                      (vi) All licenses, consents, approvals or other authorizations from third
parties or governmental authorities required in connection with the transactions contemplated
hereunder, including, without limitation, all licenses and approvals by agencies charged with
regulating or licensing Senior Housing Facilities, shall have been obtained by, and issued in the
name of, Buyer or its property manager or designee.

                      (vii) There shall have been no material adverse change in the business,
properties, operations or condition (financial, physical, title, licensing, environmental or
otherwise) of Seller or the Facility since expiration ofthe Due Diligence Period.

                      (viii) No proceedings (including, but not limited to, regulatory
proceedings) shall be pending or threatened that could or would involve the change,
redesignation, redefinition or other modification of the zoning classifications (or any building,
environmental or code requirements applicable to) in a manner that would materially adversely
affect the Assets.

                       (ix) The Title Company shall be prepared to issue an owner's policy to
Buyer taking no exception (i) to coverage other than those exceptions approved or accepted by
Buyer pursuant to Section 3.3 or (ii) as to the finality or appeal of the Sale Order. Buyer will use
its best efforts to remove any exception relating to the Sale Order (other than an appeal relating
to any good faith finding in the Sale Order) or any issue that may cause Buyer to receive
anything less than the full benefit of its bargain expected under this Agreement. The Buyer shall
close the transaction contemplated by this Agreement if the Title Company does not issue an
owner's policy as set forth in (ii) above if the Bank agrees to indemnify the Buyer for any loss
related to such a closing pursuant to an indemnification agreement acceptable to Buyer, acting
reasonably. Buyer shall not be obligated to close if the Sale Order is subject to an appeal as to
any good faith finding in the Sale Order.

               (b)     Conditions to Seller's Obligation to Close. As a condition to Seller's
obligation to close with respect to the Assets on the Closing Date:

                      (i)     The Bankruptcy Court shall have entered the Sale Order and the
Sale Order shall not be stayed.

                      (ii)      The representations and warranties of Buyer contained herein shall
be true and correct in all material respects as of the Effective Date and as of the Closing Date.

                   (iii) There shall be no default with respect to any material obligation of
Buyer hereunder which Buyer has not cured within twenty (20) days after written notice from
Seller; and


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                       (iv) All those covenants set forth herein to be performed by Buyer at or
prior to Closing shall have been performed or waived by Seller in writing.

        5.4. Seller's Deliveries. On or before the Closing Date, Seller shall deliver in escrow
to the Escrow Agent or outside of escrow to Buyer the following, each duly executed and, where
appropriate, in recordable form and notarized:

              (a)     Deed. A quitclaim deed, executed and acknowledge by Seller, conveying
to Buyer good, indefeasible and marketable fee-simple title to the Real Property, free and clear
of all Encumbrances, subject only to the Permitted Exceptions(the "Deed");

             (b)      Bill of Sale and Assignment Agreement. A bill of sale and assignment
agreement in the form of Exhibit I attached hereto (the "Bill of Sale"), executed and
acknowledged by Seller, vesting in Buyer good title to the Personal Property described therein
free and clear of any Encumbrances and assigning all of Seller's rights under the Accepted
Service Contracts to Buyer;

             (c)    Assignment of Leases and Residency Agreements. An assignment of
Leases and Residency Agreements in the form of Exhibit J attached hereto (the "Assignment of
Residency Agreements"), executed and acknowledged by Seller, vesting in Buyer good title to
the Residency Agreements and Leases which Buyer elects to assume prior to Closing ;

             (d)     Notice to Residents and Vendors. A notice to each resident in a form
requested by Buyer as well as a notice to each vendor under the Accepted Service Contracts in
form requested by Buyer;

              (e)      State Law Disclosures. Such disclosures and reports as are required by
applicable state and local law in connection with the conveyance of real property;

             (~      FIRPTA. An affidavit of Seller substantially in the form of Exhibit K
attached hereto. If Seller fail to provide the necessary affidavit and/or documentation of
exemption on the Closing Date, Buyer may proceed in accordance with the withholding
provisions imposed by Section 1445 ofthe Internal Revenue Code of 1986, as amended;

              (g)     CCRs. The estoppels and assignments concerning the CCRs, as provided
in Section 3.6;

               (h)    Certificates of Title. Certificates of title and leases (if applicable) for each
Vehicle.

               (i)      Authority. Evidence of the existence, organization and authority of Seller
and of the authority of the persons executing documents on behalf of Seller reasonably
satisfactory to the Title Company and Buyer;

              (j)     Title Documents. Affidavits required by the Title Company sufficient to
have the general exceptions deleted together with such other documents and instruments required
by the Title Company in order to issue the Title Policy;


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               (k)    Due Diligence Materials. To the extent not previously delivered to Buyer,
true, correct and complete originals, or copies, if originals are not available, of each Seller's
Deliverables.

              (1)     Rent Roll. A Rent Roll for the Facility, prepared as of a date no earlier
than two (2) business days prior to the Closing Date, certified by Seller to be true, complete and
correct through such date;

               (m) Closing Certificate. A certificate, signed by Seller, certifying to Buyer
that the representations and warranties of Seller contained in this Agreement are true and correct
in all material respects as if made on and as of the Closing Date and that all covenants required
to be performed by Seller prior to the Closing Date have been performed in all material respects;

               (n)     Settlement Statement. A settlement statement, duly executed by Seller;
and

               (o)     Permits and Approvals. All licenses, permits and approvals related to the
construction, development ownership, operation and use of the Assets, including without
limitation, certificates) of occupancy and all licenses required to operate the Facility as a Senior
Housing Facility;

              (p)      Plans and Specifications. All plans and specifications relating to the
Assets in Seller's possession and control or otherwise available to Seller;

              (q)     Other Deliveries. Such other documents, certificates and instruments
reasonably necessary in order to effectuate the transaction described herein, including, without
limitation, gap indemnity agreements, transfer tax declarations, broker lien waivers and any
documents or representations necessary to comply with any applicable environmental transfer
disclosure laws and any other Closing deliveries required to be made by or on behalf of Seller.

       5.5. Buyer's Deliveries. On or before the Closing Date, Buyer shall deposit the
balance of the Purchase Price, plus or minus applicable prorations and adjustments as set forth
herein, in immediately available, same-day federal funds wired for credit into the Escrow
Agent's escrow account. In addition, except as specified below, on or before the Closing Date,
Buyer shall deliver in escrow to the Escrow Agent or outside of escrow to Seller the following,
each duly executed and, where appropriate, in recordable form and notarized:

               (a)     Bill of Sale. The Bill of Sale, executed by Buyer;

             (b)     Assignment of Residenc~greements. The Assignment of Residency
Agreements, executed by Buyer;

              (c)      State Law Disclosures. Such disclosures and reports as are required by
applicable state and local law in connection with the conveyance of real property;

               (d)    Settlement Statement. A settlement statement, duly executed by Buyer;




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               (e)      Other Deliveries. Such other documents, certificates and instruments
 reasonably necessary in order to effectuate the transactions described herein and any other
 Closing deliveries required to be made by or on behalf of Buyer.

           5.6.   Possession. Seller shall deliver possession of the Assets to Buyer at the Closing.

         5.7. Delivery of Books and Records. Immediately after Closing, Seller shall deliver
 the following to the offices of Buyer (or the parties shall arrange for delivery of the following at
 the Facility): the original documents and instruments assigned to Buyer pursuant to the terms
 hereof; copies or originals of all books and records of account, copies of correspondence with
 tenants and suppliers, receipts for deposits, unpaid bills and other papers or documents which
 pertain to the Facility; all advertising materials, booklets, keys and other items, if any, pertaining
 to the Facility; electronic and hard copies of all databases for residents and prospective residents
 of the Facility; and, if in Seller's possession or control, the original "as-built" plans and
 specifications, and all other available plans and specifications for the Facility. Seller shall
 cooperate with Buyer after Closing to transfer to Buyer any such information stored
 electronically.

                     ARTICLE 6: PROBATIONS; COSTS; ADJUSTMENTS

       6.1. Prorations. Not less than three (3) business days prior to Closing, Seller shall
provide to Buyer such information and verification reasonably necessary to support the
prorations under this Article 6. The items in this Section 6.1 shall be prorated between Seller
and Buyer as of the close of business on the day immediately preceding the applicable Closing
Date, the Closing Date being a day of income and expense to Buyer. Credits to Buyer shall be
credited against the Purchase Price to be paid hereunder and, if such amount is exhausted, shall
be paid in cash by Seller to Buyer at the Closing. Post-closing re-prorations and adjustments
shall be paid in cash. Subject to the foregoing and for the other provisions of this Article 6, the
following items shall be prorated and adjusted at Closing:

                (a)      Taxes and Assessments. Buyer shall receive a credit for any accrued but
 unpaid real estate taxes, personal property taxes, special assessments and betterments ("Taxes")
(including, without limitation, any assessments imposed by private covenant) applicable to any
 period before the Closing Date, whether or not such Taxes are not yet due and payable, and
 Seller shall receive a credit for any Taxes applicable to any period after the Closing Date paid in
 advance by Seller. If the amount of any such Taxes have not been determined as of the Closing
 Date, then such credit shall be based on the most recent ascertainable taxes. Such undetermined
 Taxes shall be re-prorated upon issuance of the final tax bill. Notwithstanding the foregoing,(i)
 Buyer shall receive from Seller a credit for any special assessments and betterments which are
 levied or charged against the Assets or the Real Property with respect to any infrastructure
 improvements specifically made to serve the Facility, whether or not then due and payable, and
(ii) any other special assessments and betterments shall be prorated only for the year of Closing.

               (b)     Collected Rent. Buyer shall receive from Seller a credit for any rent and
 other income (and any applicable state or local tax on rent) under the Residency Agreements
(and any Leases assigned to and assumed by Buyer) collected by Seller on or before Closing that
 applies to any period after Closing. Uncollected rent and other uncollected income shall not be


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 prorated at Closing. After Closing, Buyer shall apply all rent and income collected by Buyer
 from any resident(or other tenant), first to the costs of such collection, then to such resident's (or
 other tenant's) current monthly rental and then to arrearages in the reverse order in which they
 were due, remitting to Seller any balance properly allocable to Seller's period of ownership.
 Buyer shall bill and use commercially reasonable efforts to collect such rent arrearages in the
 ordinary course of business, but Buyer shall not be obligated to engage a collection agency or
 take legal action to collect any rent arrearages or to terminate any Residency Agreement (or
 Lease). From and after Closing, Seller shall not have the right to seek collection of any rents or
 other income applicable to any period before the Closing. Any rent or other income received by
 Seller after Closing which is owed to Buyer shall be held in trust and remitted to Buyer promptly
 after receipt for allocation and disbursement as provided in this Section 6.1(b).

                (c)     Resident Deposits. All security deposits (and interest thereon if required
 by law or contract to be earned thereon) and prepaid rent(and interest thereon if required by law
 or contract to be earned thereon) under any Residency Agreement (or Lease) shall be transferred
 or credited to Buyer at Closing. As of Closing, Buyer shall assume Seller's obligations related to
 resident (and other tenant) security deposits and prepaid rent, but only to the extent they are
 properly credited and transferred to Buyer.

                 (d)     Leasing Commissions. On or before the Closing Date, Seller shall pay in
 full all leasing commissions due to leasing or other agents for the current remaining term of each
 Residency Agreement(or other lease), determined without regard to any unexercised termination
 or cancellation right); provided, however, that if any leasing agent will not accept such payment,
 then Buyer shall receive a credit against the Purchase Price at Closing in an amount equal to the
 then-unpaid leasing commissions and Buyer shall assume, in writing, the obligation to pay any
 such leasing commissions due thereunder after the Closing Date up to the amount of such credit.

                (e)     Other Revenues and Income. At Closing, Seller shall pay to or at the
 direction of Buyer any and all revenues and income in connection with the operation of the
 Assets not covered above and collected by or on behalf of Seller before the Closing and
 applicable to Buyer's period of ownership, and if such amount cannot be determined at Closing,
 such payment shall be based upon Buyer's reasonable estimate. The parties shall use reasonable
 efforts to make a final determination of such amount and make an appropriate adjusting payment
 within ninety (90) days after Closing. In addition, each party shall promptly remit or cause to be
 remitted to the other any such revenues and income collected by such party after Closing and
 applicable to the other party's period of ownership.

          6.2.   Utilities.

                (a)      Except for utilities which are in the name of and billed directly to residents
 or other tenants, Seller shall cause the meters, if any, for utilities to be read the day on which the
 Closing Date occurs and to pay the bills rendered on the basis of such readings. If any such
 meter reading for any utility is not available, then adjustment therefor shall be made on the basis
 of the most recently issued bills therefor which are based on meter readings no earlier than thirty
(30) days before the Closing Date; and such adjustment shall be re-prorated when the next utility
 bills are received.



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                (b)   Seller shall receive a credit for the amount of deposits, if any, with utility
 companies and other service providers, if any, that are transferable and that are assigned to Buyer
 at the Closing.

        6.3. Service Contracts. Seller or Buyer, as the case may be, shall receive a credit for
 regular charges under Accepted Service Contracts (and any other items of prepaid expense with
 respect to any obligation of Seller assumed by Buyer pursuant to the terms and conditions
 hereofj paid and applicable to Buyer's period of ownership, or payable and applicable to Seller's
 period of ownership, respectively. Seller shall pay at Closing all amounts owing under those
 Service Contracts that are not Accepted Service Contracts.

        6.4. Accrued Employee Benefits. At Buyer's option, Seller shall either (i) pay to any
 Employee hired by Buyer pursuant to Section 3.5 hereof the amount of all Accrued Employee
 Benefits for such Employee accruing prior to the Closing Date, or (ii) give Buyer a credit against
 the Purchase Price in such amount. In the event of any dispute between the records of Seller and
 any Employee as to the amount due to such Employee, the higher amount shall control for
 purposes of the foregoing adjustment.

          6.5.   Sales, Transfer, and Documentary Taxes; Closing Costs.

               (a)      Unless exempted by the Sale Order, Seller shall pay at Closing all sales
 and gross receipts taxes and Buyer and Seller shall each pay one-half of the conveyancing,
 stamp, excise, documentary, transfer, deed or similar taxes or fees imposed in connection with
 this transaction under applicable state, county or local law. Seller and Buyer shall execute any
 applicable city, county and state transfer tax or other declarations.

                (b)      Buyer shall pay: (i) one-half of the Escrow Agent's escrow fee, closing
 charges and any cancellation fee, (ii) the costs associated with Buyer's due diligence activities,
(iii) the cost of the Title Policy and Survey. Seller shall pay (x) one-half of the Escrow Agent's
 escrow fee, closing charges and any cancellation fee, and (y) all recording fees or other charges
 incurred in connection with clearing title, including without limitation any prepayment or release
fees. Each party shall be responsible for its own attorney's and other professional fees.

         6.6. Liabilities. Except as expressly set forth herein, Seller shall not assume any
Liability to the extent occurring and arising from and after the Closing Date as a result of
Buyer's ownership and operation of the Assets. Seller shall retain any Liability relating to or
arising, whether before, on, or after the Closing, out of, or in connection with, any of the
Excluded Service Contracts, including any Liability of Seller identified by Buyer as of the
Closing Date. Except for the Accepted Services Contracts expressly provided for in this
Agreement, Buyer shall not assume any debts, obligations, warranties, claims (including resident
claims) against or relating to the Assets, or any other Liability of Seller, whether express or
implied, fixed or contingent, known or unknown, liquidated or unliquidated, accrued, asserted or
unasserted, or otherwise. The intent and objective of Buyer and Seller is that Seller retains, that
Buyer does not assume, and that no transferee liability shall attach to Buyer in respect of, any
liabilities or obligations of Seller of any nature whatsoever, except for the Accepted Services
Contracts. The elimination of any risk of transferee liability attaching to Buyer is a primary
inducement to Buyer in entering into this transaction, in that Buyer would not have entered into


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this transaction under circumstances where any transferee liability would or might attach to it.
The negotiations of the Buyer and Seller with respect to the acquisition of the Assets were based
upon the agreement that Buyer would not succeed to any liability of Seller or which is related in
any way to the Assets.

       6.7. No Other Obligations. No other expense related to the ownership or operation of
the Assets shall be charged to or paid or assumed by Buyer under this Agreement, other than
those obligations expressly assumed by Buyer in writing.

       6.8. Adjustment Procedure. If Seller duly gives Buyer such notice of objection, and if
Seller and Buyer fail to resolve the issues outstanding with respect to the foregoing prorations
within thirty (30) days of Buyer's receipt of Seller's objection notice, Seller and Buyer shall
submit the issues remaining in dispute to the Bankruptcy Court for adjudication. Seller and
Buyer shall each bear its own fees and expenses relating to such adjudication.

                 ARTICLE 7: REPRESENTATIONS AND WARRANTIES

       7.1. Seller's Representations and Warranties. As a material inducement to Buyer to
execute this Agreement and consummate this transaction, Seller represents and warrants to
Buyer as follows as of the date hereof(which representations, warranties shall also be true on the
Closing Date as if made on the Closing Date):

              (a)      Organization and Authority of Seller. Each Seller has been duly
organized, is validly existing, and is in good standing as a limited liability company in the State
of New Hampshire. Seller has the full right, power and authority and has obtained any and all
consents required to enter into this Agreement, all of the documents to be delivered by Seller at
the Closing and to consummate or cause to be consummated the transactions contemplated
hereby. This Agreement has been, and all of the documents to be delivered by Seller at the
Closing will be, authorized and properly executed and constitutes, or will constitute, as
appropriate, the valid and binding obligation of Seller, enforceable in accordance with their
terms.

              (b)     Pending Actions or Proceedings. Except as directly related to the Sale
Motion, there is no action or proceeding pending or, to Seller's knowledge, threatened against
Seller or otherwise relating to the Facility. To Seller's knowledge, no condemnation, eminent
domain or similar proceedings are pending or threatened with regard to the Facility. Seller has
not received any notice and has no knowledge of any pending or threatened liens, special
assessments, impositions or increases in assessed valuations to be made against the Facility.

              (c)       Conflicts; Filings. Neither the execution and the delivery of this
Agreement, nor the consummation of the transactions contemplated hereby, will: (i) violate any
law to which Seller is subject, or any provision of its operating agreement or certificate of
formation; or (b) conflict with, result in a breach of, constitute a default under, result in the
acceleration of, create in any party the right to accelerate, terminate, modify, or cancel, or require
any notice under any agreement, contract, lease, license, instrument, or other arrangement to
which Seller is a party or by which it is bound or to which any of its assets is subject. Seller is
not required to give any notice to, make any filing with, or obtain any authorization, consent or


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approval of any government or governmental agency in order for the parties to consummate the
transactions contemplated by this Agreement.

              (d)       Title. Seller has good, clear record and marketable title to the Assets, free
and clear of all liens, encumbrances and restrictions, other than the matters described in Exhibit
L attached hereto.

              (e)      Vehicles and Equipment. Attached hereto as Exhibit F is a list of all
vehicles owned or leased by Seller in connection with the operation of the Facility. The vehicles
are not subject to any liens or encumbrances except as set forth on Exhibit F. Except for the
personal property owned by Seller or others as listed on Exhibit C attached hereto, Seller owns
and has good title to all Personal Property free and clear of any liens and encumbrances, except
for the liens and encumbrances set forth on Exhibit F attached hereto and the lien of any
mortgage which is to be satisfied in full by Seller and discharged at Closing.

               (~      Rent Roll and Residency Agreements. Set forth on Exhibit M hereto is a
list of all of the Residency Agreements (and other leases), including all amendments thereto,
guaranties relating thereto and side letters or other agreements relating thereto (the "Rent Roll").
Other than the Residency Agreements and leases listed in the Rent Roll, there are no leases or
occupancy agreements relating to the Facility, and no party other than the residents and tenants
under the Residency Agreements and other leases (if any), has any right to possess all or any
portion of the Facility. The documents constituting the Residency Agreements and other leases
that are delivered to Buyer pursuant to Section 3.1 are true, correct and complete copies of the
Residency Agreements and other leases, including any and all amendments and guarantees. All
information set forth in the Rent Roll is true, correct, and complete in all material respects as of
its date. Except as set forth on the Rent Roll, there are no leasing or other fees or commissions
due, nor will any become due, in connection with any Residency Agreement or other lease or any
renewal or extension or expansion of any Residency Agreement or other lease, and no
understanding or agreement with any party exists as to payment of any leasing commissions or
fees regarding future leases or as to the procuring of residents or tenants. The Residency
Agreements and other leases are in full force and effect and neither Seller nor, to Seller's
knowledge, any resident or other tenant is in default under any Residency Agreement. No
resident or other tenant has asserted in writing, nor are there, to Seller's knowledge, any defenses
or offsets to rent accruing after the Closing Date. Seiler has not assigned or pledged any
Residency Agreement or other lease, or rents or any interest therein, to any person or entity other
than existing mortgage lenders whose loans will be satisfied in full and discharged at Closing.

No residents in the Facility receive any assistance under any government assistance program and
the no beds or units in the Facility are subject to affordability or income-based restrictions.

              (g)      Service Contracts. Set forth on Exhibit N is a list of all of the Services
Contracts. The documents constituting the Service Contracts that are delivered to Buyer
pursuant to Section 3.1 are true, correct and complete copies of all the Service Contracts
affecting the Facility. Neither Seller nor, to Seller's knowledge, any other party is in default in
under any Service Contract.

               (h)     Employment Matters.


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                            (A) Exhibit O attached hereto contains a list of all employees of
                    Seller directly employed in the operation and management of the Facility
                   (collectively, the "Emplo.~"), including employees who are receiving
                    short-term disability benefits or are on family and medical, medical/long-
                    term disability, administrative, or military leave or any other type of leave
                    that entitles the Employee to reinstatement upon completion of the leave
                    under the applicable leave policies of Seller. The Employees are
                    employees of Seller (and not any Affiliate of Seller), except as otherwise
                    expressly stated on Exhibit O.

                           (B) Except for the Employees, there are no other persons
                    directly employed in the operation or management ofthe Facility.

                          (C) There are no contracts, express or implied, between Seller
                    or any of its Affiliates and any Employees of the Facility for any term of
                    duration of employment.

                           (D) The Employees are not now represented, and at no time
                    have the Employees been represented, by any labor organization for
                    collective bargaining purposes, and no labor organization has commenced
                    any effort to represent the Employees for collective bargaining purposes.

                           (E)     Neither Seller, nor any of its Affiliates has received any
                    notice from (i) any Employee of the Facility that he or she is or claims to
                    be represented for purposes of collective bargaining by a labor
                    organization, or (ii) any labor organization claiming to be, or seeking to
                    be, a collective bargaining representative for any Employees of the
                    Facility.

                           (F)     There is no pending or threatened action, litigation,
                    governmental proceeding, grievance, arbitration proceeding, unfair labor
                    practice charge, or any complaint or charge issued by any federal, state or
                    local governmental agency concerning any Employees of any of the
                    Facility.

                           (G) Except as provided in Section 6.4 hereof, all Employees of
                    the Facility have been paid (or will be paid by Seller on or before Closing)
                    all wages, salary, incentive payments, bonuses, commissions, draws,
                    severance pay, vacation pay, holiday pay, sick pay, automobile or
                    transportation pay or reimbursements, expense reimbursements, benefits,
                    and any other form of remuneration whatsoever due to any past or present
                    employee of the Facility for services provided to Seller and its Affiliates
                    prior to the Closing. In all payments to Employees of the Facility, all
                    payroll withholdings, and deductions required by applicable law have been
                    made, and all withheld amounts timely have been paid or will be paid by
                    Seller or its Affiliates to the appropriate entities.



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                               (H) Exhibit P attached hereto lists each "employee benefit
                       plan"(as such term is defined in Section 3(3) of the Employee Retirement
                       Income Security Act of 1974, as amended ("ERISA")) and each other
                       material employee benefit plan, policy or arrangement sponsored by Seller
                       or its Affiliates for the benefit of Employees associated with the Facility
                      (each item listed on Exhibit P, a "Benefit Plan" and, collectively, the
                      "Benefit Plans").

                             (I)      Each Benefit Plan has been maintained, funded and
                       administered material compliance with its terms and the requirements of
                                    in
                       applicable law.

                              (J)      Each Benefit Plan that is intended to meet the requirements
                       of a "qualified plan" under Section 401(a) of the Internal Revenue Code of
                       1986, as amended (the "Code") has received a favorable determination
                       letter from the Internal Revenue Service to the effect that it meets the
                       requirements of Section 401(a) ofthe Code.

                              (K) Neither Seller, nor any other entity that is treated as a single
                       employer with Seller for purposes of Section 414 of the Code has any
                       liability under Section 302 or Title IV of ERISA that could become a
                       liability of Buyer.

                             (L) No action, suit, proceeding, hearing or investigation with
                       respect to the Benefit Plans (other than routine claims for benefits) is
                       pending or threatened.

                              (M) Neither Seller, nor any of its Affiliates is a party to any
                       collective bargaining agreement or other labor agreement with any union
                       or labor organization.

              (i)      Operating Statements. The operating statements of Seller with respect to
the Facility for the fiscal year ended December 31, 2016, delivered to Buyer pursuant to this
Agreement, show all items of income and expense incurred in connection with the ownership,
operation, and management of the Assets for the periods indicated and are true, correct, and
complete in all material respects. No material adverse change has occurred from the respective
dates of such operating statements to the date hereof.

              (j)      Permits, Le ga1 Compliance, and Notice of Defects. Seller has all licenses,
permits and certificates necessary for the ownership, use and operation of the Assets, including,
without limitation, all certificates of occupancy necessary for the occupancy of the Assets (the
"Permits"). All of the Permits are in full force and effect, and Seller has not taken or failed to
take any action that would result in their revocation, suspension or limitation, nor received any
written notice of an intention to revoke, suspend or limit any of them. Neither the Assets nor the
use thereof violates any Permit, governmental law or regulation or any covenants or restrictions
encumbering the Assets. There are no physical defects in the Improvements. Seller has not
received any written notice from any insurance company or underwriter, or is otherwise aware,


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of any defects that would materially adversely affect the insurability of the Assets or cause an
increase in insurance premiums. Seller has not received notice from any governmental authority
or other person of, nor has any knowledge of, any violation of zoning, building, fire, health,
environmental, or other statutes, ordinances, regulations or orders (including, without limitation,
those respecting the Americans with Disabilities Act), or any restriction, condition, covenant or
consent in regard to the Assets or any part thereof which have not been corrected to the
satisfaction of the issuer.

              (k)      Environmental. Seller has no knowledge of any violation of any
Environmental Law related to the Real Property or the presence or release of any Hazardous
Materials on or from the Real Property except as disclosed in the environmental reports listed in
Exhibit attached hereto (the "Environmental Reports"). Except for de minimis amounts of
Hazardous Materials used, stored and disposed of in accordance with Environmental Laws, and
used in connection with the ordinary maintenance and operation of the Assets, Seller has not
manufactured, introduced, released or discharged from or onto the Assets any Hazardous
Materials or any toxic wastes, substances or materials (including, without limitation, asbestos),
and Seller has not used the Assets or any part thereof for the generation, treatment, storage,
handling or disposal of any Hazardous Materials. Except as set forth in the Environmental
Reports, there are no underground storage tanks located on the Real Property. Seller is not aware
of any environmental assessments or studies which exist with respect to the Real Property except
for the Environmental Reports.

             (1)     ERISA. Seller is not acting on behalf of (i) an "employee benefit plan"
within the meaning of Section 3(3) of the Employee Retirement Income Security Act of 1974, as
amended, (ii) a "plan" within the meaning of Section 4975 of the Internal Revenue Code of
1986, as amended or (iii) an entity deemed to hold "plan assets" within the meaning of29 C.F.R.
§2510.3-101 of any such employee benefit plan or plans.

               (m) PATRIOT Act. Seller is in compliance with the requirements of
Executive Order No. 133224, 66 Fed. Reg. 49079 (Sept. 25, 2001) (the "Order") and other
similar requirements contained in the rules and regulations of the Office of Foreign Assets
Control, Department of the Treasury ("OFAC") and in any enabling legislation or other
Executive Orders or regulations in respect thereof(the Order and such other rules, regulations,
legislation, or orders are collectively called the "Orders"). Further, Seller covenants and agrees
to make its policies, procedures and practices regarding compliance with the Orders, if any,
available to Buyer for its review and inspection during normal business hours and upon
reasonable prior notice. Neither Seller nor any beneficial owner of Seller:

                      (i)     is listed on the Specially Designated Nationals and Blocked
Persons List maintained by OFAC pursuant to the Order and/or on any other list of terrorists or
terrorist organizations maintained pursuant to any of the rules and regulations of OFAC or
pursuant to any other applicable Orders (such lists are collectively referred to as the "Lists");

                      (ii)      is a person or entity who has been determined by competent
authority to be subject to the prohibitions contained in the Orders; or




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                        (iii) is owned or controlled by, or acts for or on behalf of, any person or
entity on the Lists or any other person or entity who has been determined by competent authority
to be subject to the prohibitions contained in the Orders.

Seller hereby covenants and agrees that if Seller obtains knowledge that Seller or any of its
beneficial owners becomes listed on the Lists or is indicted, arraigned, or custodially detained on
charges involving money laundering or predicate crimes to money laundering, Seller shall
immediately notify Buyer in writing, and in such event, Buyer shall have the right to terminate
this Agreement without penalty or liability to Seller immediately upon delivery of written notice
thereof to Buyer.

              (n)      No Rent Subsidies or Affordability Restrictions. Except as set forth in the
Rent Roll, the senior housing units in the Assets are not subject to, nor do said senior housing
units receive the benefit of, any rent subsidies or rental assistance programs or affordability or
income-based restrictions or limitations. To the knowledge of Seller, no senior housing unit is
subject to any rent control law, ordinance or regulation.

              (o)      Medicare; Medicaid; Third Party Payor Pro grams. No portion of the
income from the Assets is attributable to Medicare, Medicaid or any other public or private third
party payor or other program.

              (p)       Utilities. Public utility services (including, without limitation, all
applicable electric lines, sewer and water lines, gas, cable, television and telephone lines) are
available to service the Assets at the property line without the need for any easements over land
of others, and, to Seller's knowledge, said public utility services are adequate to service the
requirements of the Assets and its tenants and occupants as presently operated, and all payments
currently due for the same have been made, and all necessary easements, permits, licenses and
agreements in respect of any of the foregoing exist and are in full force and effect and are
installed and operating and all installation and connection charges have been paid for in full.
Neither Seller, nor to Seller's knowledge, any prior owner of the Assets has received notice of
any fact or condition existing and would or could result in the termination or reduction of the
current access from the Assets to existing roads and highways, or to sewer or other utility
services available to the Assets.

              (q)      Disclosure. Other than this Agreement, the documents delivered at
Closing pursuant hereto, the Permitted Exceptions, the Residency Agreements and the Accepted
Service Contracts, there are no contracts or agreements of any kind relating to the Assets to
which Seller is a party and which would be binding on Buyer after Closing. Seller has delivered
to Buyer all written materials in Seller's possession or control which contain information or
disclose facts or conditions that would have a material adverse impact on the use, operation or
marketability of the Assets. The originals and copies of Seller Deliverables delivered to Buyer
pursuant to Section 3.1 hereof are true, correct and complete originals or copies of the respective
documents, instruments, agreements or other items, and Seller is not aware of any material
inaccuracy or omission in the information in Seller Deliverables.

             (r)      Manager/Management Agreement.            There is no written management
agreement or third-party manager relating to the Assets.


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               (s)     Exhibits. Notwithstanding the foregoing, the parties acknowledge that all
of the Exhibits attached hereto have not been completed as of the date hereof. Seller shall
deliver to Buyer any and all missing information in order to complete all of the Exhibits within
three (3) days of the execution of this Agreement, all such Exhibits to be in form and substance
acceptable to Buyer.

        7.2. Buyer's Representations and Warranties. As a material inducement to Seller to
execute this Agreement and consummate this transaction, Buyer represents and warrants to
Seller as follows as of the date hereof(which representations, warranties shall also be true on the
Closing Date as if made as ofthe date thereof:

              (a)     Organization and AuthoritX. Buyer has been duly organized and is validly
existing as a Delaware limited liability company. Buyer has the full right and authority and has
obtained any and all consents required to enter into this Agreement and to consummate or cause
to be consummated the transactions contemplated hereby. This Agreement has been, and all of
the documents to be delivered by Buyer at the Closing will be, authorized and properly executed
and constitutes, or will constitute, as appropriate, the valid and binding obligation of Buyer,
enforceable in accordance with their terms.

              (b)     Pending Action. There is no agreement to which Buyer is a party or to
Buyer's knowledge binding on Buyer which is in conflict with this Agreement. There is no
action or proceeding pending or, to Buyer's knowledge, threatened against Buyer which
challenges or impairs Buyer's ability to execute or perform its obligations under this Agreement.

              (c)       Conflicts; Filings. Neither the execution and the delivery of this
Agreement, nor the consummation of the transactions contemplated hereby, will: (i) violate any
law to which Buyer is subject, or any provision of its operating agreement or certificate of
formation; or (ii) conflict with, result in a breach of, constitute a default under, result in the
acceleration of, create in any party the right to accelerate, terminate, modify, or cancel, or require
any notice under any agreement, contract, lease, license, instrument, or other arrangement to
which Buyer is a party or by which it is bound or to which any of its assets is subject. Buyer is
not required to give any notice to, make any filing with, or obtain any authorization, consent or
approval of any government or governmental agency in order for the parties to consummate the
transactions contemplated by this Agreement.

              (d)      PATRIOT Act. Buyer is in compliance with the requirements of the
Order and other similar requirements contained in the rules and regulations of OFAC and in any
enabling legislation or other Orders. Further, Buyer covenants and agrees to make its policies,
procedures and practices regarding compliance with the Orders, if any, available to Seller for its
review and inspection during normal business hours and upon reasonable prior notice. Neither
Buyer nor any beneficial owner of Buyer:

                      (i)      is listed on the Lists;

                      (ii)      is a person or entity who has been determined by competent
authority to be subject to the prohibitions contained in the Orders; or



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                        (iii) is owned or controlled by, or acts for or on behalf of, any person or
entity on the Lists or any other person or entity who has been determined by competent authority
to be subject to the prohibitions contained in the Orders.

              (e)      Buyer hereby covenants and agrees that if Buyer obtains knowledge that
Buyer or any of its beneficial owners becomes listed on the Lists or is indicted, arraigned, or
custodially detained on charges involving money laundering or predicate crimes to money
laundering, Buyer shall immediately notify Seller in writing, and in such event, Seller shall have
the right to terminate this Agreement without penalty or liability to Buyer immediately upon
delivery of written notice thereof to Buyer.

          7.3.   Intentionally Omitted.

        7.4. Survival of Representations and Warranties. The representations and warranties
set forth in this Article 7 are made as of the Effective Date, and each party shall be deemed to
have remade all of their respective representations and warranties as of the Closing Date. No
representations or warranties shall (i) be deemed to be merged into or waived by the instruments
of Closing or (ii) survive the Closing.

                          ARTICLE 8: DEFAULT AND REMEDIES

        8.1. Buyer's Remedies. If Seller shall be in material default under this Agreement,
which default is not cured within ten days following written notice from the Buyer specifying the
default, then Buyer shall be entitled to such remedies for breach of contract as may be available
at law and in equity, including, without limitation, immediate refund of the Deposit and all
interest earned thereon and the remedy of specific performance. In addition, if, after any default
by Seller of a material nature, Buyer elects not to proceed with the Closing, then Seller shall, on
demand and as Buyer's sole and exclusive damages remedy, reimburse Buyer for all reasonable
out-of-pocket expenses incurred by Buyer in connection with this Agreement(including, without
limitation, all legal and other professional fees), due diligence expenses and expenses relating to
licensing.

        8.2. Seller's Remedies. If Buyer shall be in material default under this Agreement,
which default is not cured within ten days following written notice from the Seller specifying the
default, then Seller's sole remedy shall be to terminate this Agreement and receive the Deposit,
as liquidated damages, as Seller's sole and exclusive remedy at law or in equity (Seller waiving
all other rights or remedies in the event of such default by Buyer and the parties hereby
acknowledging that Seller's actual damages in the event of a default by Buyer under this
Agreement will be difficult to ascertain, and that such liquidated damages represent the parties'
best estimate of such damages).

       8.3. Other Expenses. If this Agreement is terminated due to the default of any party,
then the defaulting party shall pay any fees due to the Escrow Agent.

        8.4. Termination. In addition to the foregoing, Buyer may, upon written notice to
Seller, terminate this Agreement:



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              (a)   if Seller does not file the Sale Motion and the Bid Procedures Motion
with the Bankruptcy Court by the date that is five (5) days after the expiration of the Due
Diligence Period;

              (b)      if the Bidding Procedures Order shall not have been entered by the
Bankruptcy Court by the date that is ten (10) days after the filing of the Bid Procedures Motion;
provided, however, that this Agreement may not be terminated pursuant to this clause (i) in the
event that Seller timely moved the Bankruptcy Court to enter the Bidding Procedures Order and
the Bankruptcy Court's schedule is the reason that the entry of the Bidding Procedures Order has
not occurred on or before such date or (ii) Buyer's breach of any of its representations and
warranties contained in this Agreement and failure to perform any of its obligations hereunder is
the reason that the entry of the Bidding Procedures Order has not occurred on or before such
date;

              (c)    prior to entry of the Sale Order i£ (i) Seller enters into a definitive
agreement with respect to an Alternate Transaction; (ii) the Bankruptcy Court enters an order
approving an Alternate Transaction; or (iii) if Buyer is not the successful bidder at the Auction;

              (d)      so long as Buyer is not in breach of its obligations under this Agreement in
any material respect, upon a material breach of any covenant, agreement, representation, or
warranty of Seller set forth in this Agreement, which breach is not cured within ten(10) business
days following written notice to the Seller or which breach, by its nature, cannot be cured prior
to the Closing Date;

              (e)     at any time following entry of the Bidding Procedures Order, but prior to
entry of the Sale Order, upon or following the date that an order of any court of competent
jurisdiction shall be entered (i) vacating or reversing the Bidding Procedures Order or (ii)
amending, supplementing, or otherwise modifying the Bidding Procedures Order and Buyer does
not consent to the amendment, supplement, or modification, such consent not to be unreasonably
conditioned, withheld, or delayed;

             (~      upon or following the date which is thirty (30) days after the date the
Bidding Procedures Order is first entered by the Bankruptcy Court if the Auction shall not have
been completed by such date (if the Auction is required to occur pursuant to the Bidding
Procedures Order);

              (g)      if the Bankruptcy Case is dismissed or converted to a case under Chapter 7
of the Bankruptcy Code and neither such dismissal nor conversion expressly contemplates the
transactions provided for in this Agreement; or

              (h)     if any secured creditor of Seller obtains relief from the automatic stay to
foreclose on any ofthe acquired Assets.

             (i)       if the Sale Order is not entered by the date which is ten (10) days after the
Auction or upon or following the date on which the Bankruptcy Court shall have stated
unconditionally that it will not enter the Sale Order; provided, however, that this Agreement may
not be terminated pursuant to this section (i) in the event that Seller timely moved the
Bankruptcy Court to enter the Sale Order and the Bankruptcy Court's schedule is the reason that

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the entry of Sale Order has not occurred on or before such date or (ii) Buyer's breach of any of
its representations and warranties contained in this Agreement and failure to perform any of its
obligations hereunder is the reason that the entry of the Sale Order has not occurred on or before
such date; or

                 (j)    if the Petition Date does not occur on or before the date that is five (5)
 days after the expiration of the Due Diligence Period.

          8.5.   Break-Up Fee

              (a)      Seller shall pay to Buyer a cash amount equal to $250,000.00 (the "Break-
Up Fee") if (i) Seller closes on an Alternative Transaction or (ii) another bidder is deemed the
Successful Bidder following the Auction, subsequently fails to close its transaction, and forfeits
its deposit under its asset purchase agreement. Seller shall pay the Buyer the Break-Up Fee
within two (2) business days of Buyer's written demand for the Break-Up Fee under these
circumstances. This Seller obligation is in addition to its obligation to return to Buyer the
Deposit in accordance with the terms of this Agreement.

            (b)     Seller shall cause the Break-Up Fee to be paid pursuant to the terms of this
Agreement in immediately available funds and without need for further order of or from the
Bankruptcy Court(other than the Bidding Procedures Order).

                (c)      Seller acknowledges and agrees that (i) the payment of the Break-Up Fee
 are integral parts of the transactions contemplated by this Agreement, (ii) in the absence of
 Seller's obligations to make these payments, Buyer would not have entered into this Agreement,
(iii) time is of the essence with respect to the payment of the Break-Up Fee, and (iv) the Break-
 Up Fee shall constitute an administrative expense of the Seller's estate under Section
 503(b)(1)(A) and 507(a)(2) of the Bankruptcy Code. To the extent that all amounts due in respect
 of the Break-Up pursuant to this Section 8.5 have actually been paid by Seller to Buyer, Buyer
 shall not have any additional recourse against any Seller or its Affiliates for any Liabilities
 relating to or arising from this Agreement.

                   ARTICLE 9: NON SOLICITATION; NON COMPETE

        9.1. Non-Solicitation. In consideration of the premises contained herein, the
consideration to be received hereunder and in consideration of and as an inducement to Buyer to
consummate the transactions contemplated hereby, Seller and Principals hereby agree that until
the second (2°a)anniversary of the Closing Date, Seller and Principals shall not and shall not
suffer or permit any of its Affiliates to, directly or indirectly (i) solicit or attempt to induce any
employee of Buyer or any Affiliate of Buyer to terminate his or her employment with Buyer or
any Affiliate of Buyer; or (ii) hire or attempt to hire any employee of Buyer or any Affiliate of
Buyer except on an unsolicited basis at the request of such employee.

       9.2. Non-Compete.          In consideration of the premises contained herein, the
consideration to be received hereunder and in consideration of and as an inducement to Buyer to
consummate the transactions contemplated hereby, Seller hereby agrees that, if the Closing
hereunder occurs, Seller shall not, and shall not suffer or permit any Principal to, develop,
construct, own, lease, acquire, manage, operate or otherwise directly or indirectly participate in

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any Competing Project prior to the second (2°d)anniversary of the Closing Date; provided,
however, that the foregoing provisions of this Section 9.2 shall not apply to any Senior Housing
Facility currently owned, leased, managed or operated by Seller or any of its Affiliates as of the
date hereof and listed on Exhibit H attached hereto.

        9.3. Enforcement. Seller acknowledges and recognizes the highly competitive nature
of the senior housing industry. Seller has carefully considered the nature and extent of the
restrictions set forth herein and acknowledges that the same are reasonable with respect to scope,
duration and territory. It is the desire and intent of the parties that the provisions of this Article 9
be enforced to the fullest extent permissible under the laws and public policies applied in each
jurisdiction in which enforcement is sought. Accordingly, if any particular provision of this
Article 9 shall be adjudicated to be invalid or unenforceable, such provision without any action
by any party shall be deemed amended to delete therefrom or to modify the provisions thereof so
as to restrict (including, without limitation, a reduction in duration, geographical area or
prohibited business activity) the portion adjudicated to be invalid or unenforceable, such deletion
or modification to apply only with respect to the operation of such provision in the particular
jurisdiction in which such adjudication is made, and such deletion or modification to be made
only to the extent necessary to cause the provision as amended to be valid and enforceable. The
parties hereto recognize and acknowledge that a breach by Seller of this Article 9 will cause
irreparable and material loss and damage to Buyer as to which Buyer will not have an adequate
remedy at law or in damages. Accordingly, each party acknowledges and agrees that the
issuance of an injunction or other equitable remedy is an appropriate remedy for any such breach
in addition to, and without limiting, any other remedies that the Buyer may have at law or in
equity.

                               ARTICLE 10: MISCELLANEOUS

        10.1. Parties Bound. Neither party may assign this Agreement without the prior written
consent of the other, and any such prohibited assignment shall be void; provided, however, that
Buyer may assign its rights and obligations under this Agreement without Seller's consent to any
entity in which Buyer or any principals thereof will have an ownership interest. Subject to the
foregoing, this Agreement shall be binding upon and inure to the benefit of the respective legal
representatives, successors, assigns, heirs, and devises ofthe parties.

       10.2. Headings. The article and paragraph headings of this Agreement are for
convenience only and in no way limit or enlarge the scope or meaning of the language hereof.

        10.3. Invalidity and Waiver. If any portion of this Agreement is held invalid or
inoperative, then so far as is reasonable and possible the remainder of this Agreement shall be
deemed valid and operative, and, to the greatest extent legally possible, effect shall be given to
the intent manifested by the portion held invalid or inoperative. The failure by either party to
enforce against the other any term or provision of this Agreement shall not be deemed to be a
waiver of such party's right to enforce against the other party the same or any other such term or
provision in the future.

       10.4. Governing Law. This Agreement shall, in all respects, be governed, construed,
applied, and enforced in accordance with the laws ofthe State of New Hampshire.


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           10.5. Survival. The provisions of this Agreement shall not survive Closing.

         10.6. No Third Party Beneficiary. This Agreement is not intended to give or confer any
 benefits, rights, privileges, claims, actions, or remedies to any person or entity as a third party
 beneficiary, decree, or otherwise.

        10.7. Entirety and Amendments. This Agreement embodies the entire agreement
 between the parties and supersedes all prior agreements and understandings relating to the
 Assets. This Agreement may be amended or supplemented only by an instrument in writing
 executed by the party against whom enforcement is sought.

           10.8. Time. Time is ofthe essence in the performance of this Agreement.

         10.9. Notices. All notices required or permitted hereunder shall be in writing and shall
 be served on the parties at the addresses set forth in Exhibit R. Any such notices shall be either
(i) sent by overnight delivery using a nationally recognized overnight courier, in which case
 notice shall be deemed delivered on the date of deposit with such courier,(ii) sent by certified or
 regular U.S. mail, postage prepaid, in which case notice shall be deemed delivered on the date of
 deposit with the U.S. Postal Service,(iii) sent by email or facsimile, in which case notice shall be
 deemed delivered upon transmission thereof so long as a copy thereof is also sent by overnight
 delivery using a nationally recognized overnight courier by depositing such copy on such date of
 delivery by email or facsimile with such courier, or (iv) sent by personal delivery, in which case
 notice shall be deemed delivered upon receipt or refusal of delivery. A party's address may be
 changed to another address in the United States by written notice to the other party; provided,
 however, that no notice of a change of address shall be effective until actual receipt of such
 notice. Copies of notices are for informational purposes only, and a failure to give or receive
 copies of any notice shall not be deemed a failure to give notice. Notices given by counsel to
 Buyer shall be deemed given by Buyer and notices given by counsel to Seller shall be deemed
 given by Seller.

         10.10. Construction. The parties acknowledge that the parties and their counsel have
 reviewed and revised this Agreement and the documents to be executed at the Closing and agree
 that the normal rule of construction to the effect that any ambiguities are to be resolved against
 the drafting party shall not be applied in the interpretation of this Agreement, the documents to
 be delivered at Closing or any exhibits or amendments thereto.

       10.11. Calculation of Time Periods. Unless otherwise specified, in computing any
period of time described herein, the day of the act or event after which the designated period of
time begins to run is not to be included and the last day of such period is to be included, unless
such last day is a Saturday, Sunday or legal holiday for national banks in the State of New
Hampshire, in which event the period shall run until the end of the next day which is neither a
Saturday, Sunday, nor legal holiday.

        10.12. Execution in Counterparts. This Agreement may be executed in any number of
counterparts, each of which shall be deemed to be an original, and all of such counterparts shall
constitute one Agreement. To facilitate execution of this Agreement, the parties may execute
and exchange by telephone facsimile counterparts of the signature pages.


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         10.13. Further Assurances. In addition to the acts and deeds recited herein and
contemplated to be performed, executed and/or delivered by either party at Closing, each party
agrees to perform, execute and deliver, but without any obligation to incur any additional
liability or expense, on or after the Closing any further deliveries and assurances as may be
reasonably necessary to consummate the transactions contemplated hereby or to further perfect
the conveyance, transfer and assignment of the Assets to Buyer.

      10.14. Waiver of Jury Trial. TO THE EXTENT PERMITTED BY APPLICABLE
LAW, THE PARTIES HEREBY IRREVOCABLY WAIVE ANY AND ALL RIGHT TO
TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR RELATING TO
THIS AGREEMENT,OR THE TRANSACTIONS CONTEMPLATED HEREBY.

        10.15. Bulk Sales. If any applicable provisions of law require that any state or local
taxation authorities be notified of the transactions contemplated herein, or if clearance is required
of such authorities, each in order to permit the transfer of the Real Property as contemplated
herein without liability to Buyer for any state or local taxes required to be paid or collected by
Seller prior to the Closing Date, it shall be a condition precedent to the obligations of Buyer
hereunder that all such notification and clearance requirements shall have complied with and the
Buyer shall have received the requisite clearances and releases from further liability. Seller
shall, within ten (10) days after the Effective Date make all filings necessary to obtain such
clearances, and shall contemporaneously provide Buyer with copies of all such filings.

        10.16. Release. Seller and each Principal each hereby represents, warrants and agrees
that none of them has any claim or cause of action against Buyer or any of Buyer's Affiliates.
Seller and each Principal unconditionally and irrevocably releases, remises, waives and forever
discharges Buyer, its Affiliates, and each of the respective partners, directors, officers,
employees, shareholders, attorneys and agents of Buyer and its Affiliates, and the respective
heirs, administrators, executors, successors and assigns of each of the foregoing (collectively the
"Releasees") of and from any and all manner of action and actions, cause and causes of actions,
suits, debts, dues, sums of money, accounts, reckoning, bonds, bills, specialties, covenants,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments,
extents, executions, claims and demands whatsoever (collectively, the "Claims"), in law or in
equity, including, but not limited to, any and all claims which are presently unknown,
unsuspected, unanticipated or undisclosed, which claims against each Releasee Seller or each
Principal ever had, now has or hereafter can, shall or may have for, upon or by reason of any
matter, cause or thing whatsoever from the beginning of the world to the date hereof under, in
connection with or relating to the Assets and/or this Agreement.

          10.17. Additional Bankruptcy Provisions

              (a)      Each party hereto irrevocably submits to the exclusive jurisdiction of, and
venue in, the Bankruptcy Court for the District of New Hampshire for any actions or proceedings
arising out of or relating to this Agreement or the transactions contemplated hereby and waives
any objection or defense it may now or hereafter have based on inconvenient forum in any such
actions or proceedings. If(a) the Bankruptcy Court does not have or declines to exercise subject
matter jurisdiction over or (b) the Bankruptcy Case is closed prior to commencement of any
action or proceeding arising out of or relating to this Agreement or the transactions contemplated


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hereby, each party hereto agrees that all such actions or proceedings shall be heard and
determined in a federal court sitting in the District of New Hampshire and each party irrevocably
submits to the jurisdiction of such courts and irrevocably waives any objection or defense it may
now or hereafter have based on inconvenient forum in any such action or proceeding. Each party
agrees that any party may file a copy of this paragraph with any court as written evidence of the
knowing, voluntary, and bargained agreement between the parties irrevocably to waive any
objections to venue or to convenience offorum.

             (b)      The rights and interests of Seller hereunder shall be binding upon any
subsequent trustee appointed under Chapter 11 or Chapter 7 ofthe Bankruptcy Code or any other
person appointed as a successor to Seller pursuant to a confirmed Chapter 11 plan.

              (c)    Except to the extent that mandatory provisions of the Bankruptcy Code
apply, this Agreement shall be governed by, and construed and enforced in accordance with, the
internal laws of the State of New Hampshire, without regard to choice or conflict of law
principals thereof.

              (d)     Any obligation of Seller hereunder shall constitute a super-priority
administrative claim under Sections 503 and 507 of the Bankruptcy Code, and Buyer shall be
deemed to have a first priority lien on and security interest in all sale proceeds relating to any
sale of the assets subject of this Agreement, senior to the claims of all creditors, to secure
payment of the Break-Up Fee.

               (e)     The parties agree and acknowledge that to the extent any terms and
provisions of this Agreement are in any way inconsistent with or in conflict with any term,
condition, or provision of any other transaction document referred to herein, this Agreement
shall govern and control. Following entry of the Sale Order by the Bankruptcy Court, to the
extent that any terms and provisions of this Agreement or any transaction document are in
conflict or inconsistent with any term, condition, or provision of the Sale Order, the Sale Order
shall govern and control.

               (~      To the extent that Buyer is not the Successful Bidder at the Auction, Buyer
hereby agrees to serve as the Back-Up Bidder, to the extent that the Seller deems Buyer's final
bid to be the second highest and best offer at the Auction. Notwithstanding anything to the
contrary herein, if Buyer is the Back Up Bidder, Buyer shall not be entitled to the return of its
deposit or payment of the Break-Up Fee until the Successful Bidder closes on the Alternative
Transaction." Further notwithstanding the foregoing, if Buyer is the Back-Up Bidder, Buyer
shall not be obligated to close on the transaction and purchase the Assets if:(1)such closing does
not take place on or before August 15, 2017, or(2)there has been any material adverse change to
the business, properties, operations or condition (financial, physical, title, licensing,
environmental or otherwise) of Seller or any of the Assets during the period of time from the
Auction to the new closing date.

           [Remainder ofthis page intentionally left blank;signature page follows)




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      IN WITNESS WHEREOF, the parties hereto have duly executed and delivered this
Agreement on the day and year written below.

                                        SELLER:

                                        SANCTUARY CARE LLC,
                                        a New Hampshire limited liability company


Dated:
                                               Name:
                                               Title:



                                        SANCTUARY AT RYE OPERAPIONS LLC,
                                        a New Hampshire limited liability company


Dated:                                '
                                      I ,
                                               Name:
                                               Title:



                                        t

                                          NBR ACQUISITION RYE, LLC,
                                        a i~elaware limited liahility comnanv


Dated: ~?~ a                           By:
               ,~((~.~,..~~~




                     [Signature Page to AssetPurchase Agreement)
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      IN WITNESS WHEREOF, tl~e pat-~i~s hereto have duly executed and delivered this
Agreement on tl~e day and year written below,

                                       SELLER:

                                       SANCTUARY CARE LLC,
                                       a New Haia~.pshire limited liability company


                                      By:            _        ~
                                              Name: :~Yt                 yln~(~;<.,L
                                              Title:   4'l~~.c~r~ ~v =~.



                                      SANCTUARY AT RYE OPERATIONS LLC,
                                      a New Hainpshi~•e limited liability company


Dated: ~- ~~ Z-dI'7
                                              Name:          ~va~j7      p7it ~'C"~
                                              Title: l/1,~~ ~~~r,7 ~c:~~



                                      BUYER:

                                        NBR ACQUISITION RYE,LLC,
                                      a Delaware limited liability company


Dated;
                                             Jaanes C. Coughlin
                                             Autihorized Sign~tary




                   jSignatuf e Page to Asset Purchase Agreement)
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                                                        PRINC'IPAT,S:
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                                       JOINDER

       Stewart Title Guaranty Company hereby joins this Agreement far the sole purpose of
agreeing to be bound by the provisions of Sections 2.2 and 2.3 hereof.

                                         Stewart Title Guaranty Company

                                                                             p
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                                                ~Fo, v h P. Sullivan, Esq.
                                                Underwriting CotYnsel
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                                          List of Exhibits

Exhibit               Description

    A                 Definitions

   B                  Property Information

    C                 Personal Property Owned by Seller

   D                  Description of Land

   E                  Intentionally Omitted

   F                  Vehicles

    G                 Seller Deliverables

   H                  Exceptions to Non-Compete

    I                 Form of Bill of Sale and General Assignment

    J                 Form of Assignment of Residency Agreements and Leases

   K                  Form of FIRPTA Affidavit

   L                  Title Matters

    M                 Rent Roll

   N                  Service Contracts

   O                  List of Employees

   P                  Employment Matters

   Q                  Environmental Reports

   R                  Notice Addresses




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                                              Exhibit A

                                             Definitions

"Accepted Service Contracts" shall have the meaning set forth in Section 3.4.

"Accrued Employee Benefits" shall have the meaning set forth in Section 3.5(a).

"Affiliate" shall mean (i) as to Seller: Principals, any entity that directly or indirectly controls, is
controlled by, or is under common control with Seller or Principals or any entity at least a ten
percent (10%) of whose economic interest is owned, directly or indirectly, by Seller or
Principals; and (ii) as to Buyer: James C. Coughlin, Wendy A. Nowokunski, any entity that
directly or indirectly controls, is controlled by, or is under common control with Buyer, James C.
Coughlin, or Wendy A. Nowokunski, or any entity at least a ten percent (10%) of whose
economic interest is owned, directly or indirectly, by Buyer, James C. Coughlin, or Wendy A.
Nowokunski; and the term "control" means the power to direct the management of such entity
through voting rights, ownership or contractual obligations.

"Agreement" shall have the meaning set forth in the Introductory Paragraph.

"Alternative Transactions" shall mean a transaction or series of related transactions pursuant to
which Seller accepts a bid for all or a substantial portion of the Assets or any group of assets that
includes all or a substantial portion of the Assets, from a person other than Buyer or an Affiliate
of the Buyer, as the highest or best offer, in accordance with the Bidding Procedures Order or
otherwise, but does not mean the sale of goods or services conducted in the ordinary course of
business.

"Assignment of Residency Agreements" shall have the meaning set forth in Section 5.5(c).

"Assets" shall mean the Real Property and the Personal Property.

"Auction" shall have the meaning set forth in the Bidding Procedures Order.

"Back-Up Bidder" shall have the meaning set forth in the Bidding Procedures Order.

"Bank"shall mean Camden National Bank.

"Bankruptcy Case" shall mean the bankruptcy case to be commenced by Seller under Chapter 11
ofthe Bankruptcy Code in the Bankruptcy Court.

"Bankruptcy Code" shall mean title 11 of the United States Code, Sections 101 et seq.

"Bankruptcy Court" shall mean the United States Bankruptcy Court for the District of New
Hampshire.

"Bankruptcy Rules" shall mean the Federal Rules of Bankruptcy Procedure.

"Benefit Plan" shall have the meaning set forth in Section 7.1(h).


                                             Exhibit A-1
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"Bidding Procedures" shall have the meaning set forth in the Bidding Procedures Order.

"Bidding Procedures Order" shall mean the Order of the Bankruptcy Court approving the Sale
Motion and the Bidding Procedures and setting dates for, among other things, the Sale Hearing
and the Auction.

"Bid Procedures Motion" shall mean the Motion filed by the Seller seeking approval of the
Bidding Procedures and the entry ofthe Bidding Procedure Order.

"Bill of Sale" shall have the meaning set forth in Section 5.5(b).

"Break-Up Fee" shall have the meaning set forth in Section 8.5(b).

"Buyer" shall have the meaning set forth in the Introductory Paragraph.

"CCRs" shall have the meaning set forth in Section 3.6.

"Claims" shall have the meaning set forth in Section 10.16.

"Closing" shall have the meaning set forth in Section 5.2.

"Closing Date" shall have the meaning set forth in Section 5.2.

"Code" shall have the meaning set forth in Section 7.1(h).

"Competing Project" shall mean, as to the Facility, any Senior Housing Facility located within
the non-compete area for the Facility set forth on Exhibit B attached hereto.

"Conditions Precedent" shall have the meaning set forth in Section 5.3.

"consent" shall mean any approval, consent, ratification, waiver, or other authorization; or an
order ofthe Bankruptcy Court that deems, or rendered unnecessary, the same.

"Cure Amounts" shall mean any costs necessary to cure all defaults (as required by Section 365
of the Bankruptcy Code) under each Accepted Service Contract.

"Deed" shall have the meaning set forth in Section 5.5(a).

"Deposit" shall have the meaning set forth in Section 2.1(a).

"Due Diligence Period" shall mean the period expiring on [March 28], 2017.

"Effective Date" shall mean the date that this Agreement has been executed and delivered by all
parties hereto.

"Employees" shall have the meaning set forth in Section 7.1(h).

"Encumbrances" shall mean all obligations, mortgages, pledges, charges, liens, debentures, trust
deeds, claims (choate or inchoate), assignments by way of security or otherwise, security

                                           Exhibit A-2
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interests, conditional sales contracts or other title retention agreements or similar interests or
instruments charging, or creating a security interest in the Assets or any part thereof or interest
therein, and any agreements, leases, licenses, occupancy agreements, options, easements, rights
of way, restrictions, executions or other encumbrances (including notices or other registrations in
respect of any of the foregoing) affecting title to the Assets or any part thereof or interest therein,
except for matters approved by Buyer in writing.

"Environmental Laws" shall mean all applicable federal, state, county, municipal and other local
laws governing or relating to Hazardous Materials or the environment, together with their
implementing regulations, ordinances and guidelines, including without limitation, the Resource
Conservation and Recovery Act and the Comprehensive Environmental Response Compensation
and Liability Act.

"Environmental Reports" shall have the meaning set forth in Section 7.1(k).

"Escrow Ate"shall mean the Title Company.

"Escrow Demand" shall have the meaning set forth in Section 2.3.

"ERISA" shall have the meaning set forth in Section 7.1(h).

"Excluded Service Contracts" shall have the meaning set forth in Section 3.4.

"Extension Payment" shall have the meaning set forth in Section 5.2.

"Facility" shall mean the Senior Housing Facility operated by Seller set forth on Exhibit B
attached hereto.

"FDIC" shall have the meaning set forth in Section 2.2(c).

"Final Order" shall mean an Order of the Court that has not been reversed, stayed, modified or
amended and as to which the time to seek reconsideration, appeal or petition for certiorari has
expired and as to which no motion for reconsideration, appeal or petition for certiorari is
pending.

"Hazardous Materials" shall mean, without limitation, polychlorinated biphenyls, urea
formaldehyde, radon gas, lead paint, radioactive matter, medical waste, asbestos, petroleum
products, including crude oil or any fraction thereof, natural gas, natural gas liquids, liquefied
natural gas, or synthetic gas usable for fuel (or mixtures of natural gas or such synthetic gas), and
any substance, material, waste, pollutant or contaminant listed or defined as hazardous,
infectious or toxic under any applicable federal, state or local law.

"Improvements" shall mean all buildings, improvements, fixtures, structures, parking areas and
landscaping located on or appurtenant to the Land.

"Initial Deposit" shall have the meaning set forth in Section 2.1(a).




                                            Exhibit A-3
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"Intangible Property" shall mean all right, title and interest of Seller in and to all intangible
personal property owned by Seller and now or hereafter used in connection with the operation,
ownership, maintenance, management, or occupancy of the Facility, including, without
limitation, any and all of the following: trade names and trademarks associated with the Facility,
including, without limitation, the name "Sanctuary at Rye" and the trade names set forth on
Exhibit B attached hereto; web sites, domain names, and web addresses; the plans and
specifications for the Improvements, including as-built plans; warranties, guarantees, indemnities
and claims against third parties benefiting Seller; contract rights related to the construction,
operation, repair, renovation, ownership or management of the Facility; pending permit or
approval applications as well as existing permits, approvals and licenses (to the extent
assignable); insurance proceeds and condemnation awards to the extent provided in Sections 4.2
or 4.3 of this Agreement; and books and records relating to the Facility.

"Land" shall mean the land described in Exhibit D attached hereto and all and singular the rights,
benefits, privileges, easements, tenements, hereditaments, and appurtenances thereon or in
anywise appertaining to such land, including any and all mineral rights, development rights,
water rights and the like; and all right, title, and interest of Seller in and to all strips and gores
and any land lying in the bed of any street, road or alley, open or proposed, adjoining such land.

"Lease" shall mean and refer to any lease, license or other agreement other than residency
agreements, pursuant to which any person or entity has the right to occupy or use the Real
Property or any portion thereof.

"Liability" shall mean with respect to any person, any liability or obligation of such person of
any kind or nature, debts, losses, damage, demand, fine,judgment, penalty, adverse claims, fee,
assessment, duty, charge, deficiency, commitments, responsibilities, Taxes, whether known or
unknown, absolute or contingent, accrued or unaccrued, matured or unmatured, disputed or
undisputed, liquidated or unliquidated, secured or unsecured, joint or several, due or to become
due, vested or unvested, executory, determined, determinable, or otherwise, and whether or not
the same is required to be accrued on the financial statements of such person, including those
arising under any law or action and those arising under any contract, agreement, arrangement,
commitment or undertaking, or otherwise, including any Tax liability or tort liability.

"Lists" shall have the meaning set forth in Section 7.1(n).

"Material damage" and "materiall.~ged"shall have the meanings set forth in Section 4.2.

"Monetary Lien" shall have the meaning set forth in Section 3.4(a).

"Non-Debtor Subsidiary" shall mean an officially formed and active subsidiary of the Debtor
that is not a "Debtor" under the Bankruptcy Code.

"Non-Solicitation Period" shall have the meaning set forth in Section 4.1(b).

"Notified Party" shall have the meaning set forth in Section 2.3.

"Notifvin~y" shall have the meaning set forth in Section 2.3.


                                            Exhibit A-4
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"OFAC" shall have the meaning set forth in Section 7.1(m).

"Order" and "Orders" shall have the meanings set forth in Section 7.1(m).

"Permitted Exceptions" shall mean: (i) title and survey exceptions approved by Buyer pursuant
to Section 3.3 of this Agreement; (ii) provisions of existing building and zoning laws, provided
the same continue to permit the Land to be used as a Senior Housing Facility as presently
operated without necessity of any additional special permit, variance or other discretionary
permit or approval; (iii) any liens for municipal betterments assessed after the date of this
Agreement;(iv) existing rights and obligations in party walls which are not the subject of written
agreement; (v) such taxes for the then current year as are not due and payable on the Closing
Date; and (vi) parties in possession of individual senior housing units as residents only.

"Permits" shall have the meaning set forth in Section 7.1(j).

"Permitted Personal Propert~  .    "shall mean, for the Assets (i) leases, license rights or
restrictions incurred in the ordinary course of business which do not in any case materially
detract from the value of the property subject thereto; (ii) pledges or deposits in connection with
workers' compensation, unemployment insurance and other social security legislation and
deposits securing liability to insurance carriers under self-insurance arrangements; (iii) deposits
to secure the performance of bids, trade contracts (other than for borrowed money), leases,
statutory obligations, surety and appeal bonds, performance bonds and other obligations of a like
nature incurred in the ordinary course of business; and (iv) purchase money security interest in
respect of new equipment in an aggregate amount not in excess of $50,000 at any time.

" person" shall mean any individual, corporation (including any nonprofit corporation), general or
limited partnership, limited liability company, joint venture, estate, trust, association,
organization, labor union or other entity or governmental body.

"Personal PropertX" shall mean all Tangible Personal Property and Intangible Personal Property.

"Petition Date" shall mean the date of the filing of the Chapter 11 petition of Seller.

"Principals" shall mean, individually and collectively, Jonathan McCoy and Scott Kingsley.

"Purchase Price" shall mean, subject to adjustments and prorations as set forth herein, the sum of
Nine Million Six Hundred Fifty Thousand and 00/100 Dollars ($9,650,000.00).

"Qualified Bid" shall have the meaning set forth in the Bidding Procedures Order.

"Real Property" shall mean the Land and the Improvements.

"Releasees" shall have the meaning set forth in Section 10.16.

"Rent Roll" shall have the meaning set forth in Section 7.1(x.

"Rents" shall mean all rental income from the Real Property, including without limitation, base
rent and additional rent or fees paid by residents pursuant to the Residency Agreements.


                                            Exhibit A-5
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"Residency Agreements" shall mean all residency agreements or other occupancy agreements
between Seller or its agents and any other person or entity with respect to the Facility.

"Sale Motion" shall mean the motion that will be filed with the Bankruptcy Court to seek
approval ofthe transaction contemplated hereby.

"Sale Hearin" shall have the meaning set forth in the Bidding Procedures Order.

"Sale Order" shall mean the Order approving this Transaction and the Buyer, containing all of
the terms set forth in Section 5.3. The Sale Order shall be entered after the Sale Hearing.

"Seller" shall have the meaning set forth in the Introductory Paragraph.

"Seller Deliverables" shall have the meaning set forth in Section 3.1.

"Seller Representative" shall have the meaning set forth in Section 4.1(b).

"Senior Housin ~FacilitX" shall mean a facility which provides any one or more of the following
types of senior housing: assisted living for seniors or Alzheimer's/memory care for seniors.

"Service Contracts" shall mean (i) all service and systems contracts and other contracts,
agreements or instruments relating to the use, operation, maintenance or management of the
Facility and (ii) all non-residential leases, included vehicle leases.

"Successful Bidder" any party who acquires all or substantially all of the Assets (in a single
transaction or a series of transactions) or all or substantially all of the equity interests (in a single
transaction or a series of transactions) of Seller or any of its successors by reason of having
submitted the successful bid at the Auction in a manner consistent with and authorized by the
Bidding Procedures Order, regardless of whether such party has acquired such assets or equity
interests for investment, strategic operation, liquidation, or other purpose; provided any initial
overbid by any other bidder (other than Buyer) must be in an amount equal to or greater than the
Break-Up Fee plus $50,000.

"Survey" shall have the meaning set forth in Section 3.3.

"Tangible Personal PropertX" shall mean all right, title and interest of Seller in and to all tangible
personal property now or hereafter used in connection with the use, operation, maintenance or
management of the Real Property, including, without limitation, the motor vehicles listed on
Exhibit F attached hereto (the "Vehicles"), all tools, equipment, machinery, heating, ventilating
and air conditioning units, furniture, art work, furnishings, trade fixtures, office equipment and
supplies.

"Taxes" shall have the meaning set forth in Section 6.1(a).

"Title Commitment" shall have the meaning set forth in Section 3.3.

"Title Company" shall mean Stewart Title Guaranty Company.



                                              Exhibit A-6
1 10855143.8
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                                            Exhibit B

                                       Property Information



                 Facility/Address          Tradename          Units


               Sanctuary at Rye, 295     Sanctuary at Rye      56
                Lafayette Rd., Rye,
                 New Hampshire
                      03842



                  [DESCRIPTION OF ADJACENT PARCEL TO BE ADDED]




                                           Exhibit B-1
1 10855143.8
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                                      Exhibit C

                          Personal Property Owned by Seller




                                     Exhibit C-1
1 10855143.8
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                                                   Exhibit D

                                            Description of Land




        A certain tract or parcel of land, with t1~e bui}dings a~1d ii~lproven~ents thereon, situated in tlae
 Town of Rye, County of Rockingham and State of New Hampshire, and baua~ded ai d described as
 foilows:

         Beginning at a point on the westerly side of US,Route 1, Lafayette Road, at tl~e northeasterly
 confer of Iaud slow or formerly of Malcolm E. Sl~~ith III; thence N 82° 28' 17" W for a distance of 135.00
 feet to a point; Clience S 4~° 30' S9" W for a distance of 60.89 feet to a point; thence N 82° 2$' 17" W for
 a distance of503.54 feet to a point; theixce N 37° 03' 37" E for a distance of 55.87 feet to a point; thence
 N 3fi° 38' l2"E for a distance of 377.50 feet to a point; thence S 89° 28' S6" E for a distance of69.57 feet
 to a point; thezlce N 89° UD' S3" E for a distance of l 47.78 feet to a point; thence N 8$° 0~' S8" ~ foz- a
 distance of 121.91 feet to n point; thence N 87° 48' S1"E for a distance of 278.70 feed to a poix~# oaf the
 westerly side of Lafayette Road; thence along the westerly sideliize of Lafayette Raad S 26° 24' 32" Va' for
 a distance of 180.67 to a point; thence S 26° 24' 32" W for a distance of 270.97 to the point of beginning.

         Meaz~izag and ialtez~ding to describe a 5.815 acre paz-cel as sl~oum on a pla~i entitled "Boundary ~.ine
 Adjust~t~ent & Merger Pl1i~t fur• Rye Sanctuary", by Doucet Survey, dated January 12, 2Q10, at~d recorded
 at the Rockingl~a~i~ County Registry of Deeds as Plan #D-363G6.




                                                  Exhibit D-1
1 10855143.8
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                                      Exhibit E

                                 Intentionally Omitted




                                     Exhibit E-1
1 10855143.8
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                                                    Exhibit F

                                             Schedule of Vehicles

                                              Outstanding Loan
                           Leasedl/             Balance (as of          Monthly Payment
  Year/Model                Owned                      ,20~                   Due                 Maturity Date




1 The leased vehicles that are part ofthe "Excluded Service Contracts" should be noted as such on this schedule.

                                                   Exhibit F-1
1 10855143.8
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                                               Exhibit G

                                          Seller Deliverables

1.        All title insurance policies or other evidence of title, together with copies of all
          encumbrances, easements and restrictions and other matters referenced therein or
          otherwise affecting the property.

2.        Current ALTA survey.

3.        Copies of real estate tax bills and other municipal, county, state or other assessments for
          current and up to two prior years.

4.        Evidence of connection and operating of all gas, water, electric, sewer and other utility
          services(may be shown of survey). Copies of utility invoices for prior twelve months.

5.        All building and occupancy permits and licenses and all other governmental permits,
          licenses and approvals and notices of violation. This should include zoning opinions and
          other evidence of compliance with zoning (use, building dimensions, parking, loading
          and access), variances, special permits, site plan approvals, subdivision, building code,
          wetlands, curb cuts, historic regulations, environmental and similar land use laws and
          regulations as well as operational licenses for the facility.

6.        All plans and specifications prepared in connection with the property including as-built
          plans, site plans, floor plans and model unit plans.

7.        All leases, license agreements or similar agreements for use and occupancy allowing any
          lessees or third parties to use or occupy any portion of the property, together with all
          amendments, notices, estoppel certificates or agreements or documentation regarding
          security deposits.

8.        All environmental reports on the property, including Phase I reports, Phase II reports;
          repairs re: air quality, asbestos, lead; all logs of borings and testing wells and test results
          on the property. Any notices, citations or correspondence to or from the DEP, DEQE,
          local, state or national agencies; all environmental opinions on the property.

9.        Roof study and any other engineering or structural studies performed on the property
          over the past five (5) years.

10.       Any existing geotechnical, engineering, ADA or other reports or documentation
          regarding the status of the land and structures and the mechanical, electrical, utility and
          other building systems.

1 1.      A list of all personal property and equipment used in the operation and management of
          the property and included in the sale, including all on site vehicles.

12.       All management contracts or other service agreements regarding maintenance or
          operation of the property. Agreements to include: elevator maintenance, landscaping,


                                              Exhibit G-1
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          snow removal, fire alarm systems, and all other service agreements or contracts related to
          the property.

13.       Copies of all warranties of guarantees for HVAC,roof, elevators and equipment.

14.       Aerial photographs (if available).

15.       List of all outstanding litigation.

Financial Due Diligence

16.       Current Rent Roll, including prepaid rent and security/last month's rent deposits.

17.       Current listing of ancillary revenue utilization and charges by unit/resident.

18.       Lease expiration report.

19.       Current year capital budget.

20.       Capital expenditure recap for last two years.

21.       Current operating budgets broken down by month, including detailed staffing schedules.

22.       Current month and prior 12 months detailed internal operating statements.

23.       Staffing patterns by month for past two years including hours by position, wages by
          position and wage totals.

Operations Due Diligence

24.       Standard form and all residency agreements including any modifications, addendum's
          attachments and Resident Handbooks or House Rules.

25.       Incident reports for the prior one year.

26.       Outline of existing benefits for all associates (including health, vacation, 401 k etc.).

27.       Current site organizational chart and job descriptions.

28.       Property Bonus Program.

29.       Prior two years inspection reports and correspondence from licensing agencies; including
          department of health, state licensing/certification and all other regulatory agencies.

30.       All service agreements related to the operations, including but not limited to pharmacy,
          beauty shop, transfer, and medical services.

Information Systems



                                                Exhibit G-2
1 10855143.8
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31.       An inventory of computers, hardware, software applications per community and home
          office.

32.       Outline payroll process to include pay periods, process, vendors, inventory of time
          clocks, etc.

Marketing &Sales

33.       All marketing materials including collaterals, schedule of fees, current and past one-year
          ads, brochures, newsletters, direct mailings and disclosure statements.

34.       Financial and medical criteria for move-in.

35.       24-month occupancy trend on a monthly basis or from opening to the present, itemized
          by unit type (i.e. IL, AL).

36.       Market feasibility studies; demographics, target markets, etc.

37.       One complete collateral kit per project.

38.       New resident move in packet; lease, forms, handbooks, etc.

Insurance Due Diligence

39.       General and Professional Liability Long Term Care Applications for various insurers,
          completed for each location.

40.       Statement of property values by location.

41.       Construction, protection and exposure information by property.

42.       Vehicle schedule.

43.       Driver schedule.

44.       Workers Compensation remuneration, by location, by classification.

45.       Copy of the most recent Workers Compensation experience modification and
          accompanying worksheets.

46.      Detailed descriptions of all open and closed claims over $25,000 in the last five years
        (minimum).

47.       Most recent State Surveys including re-visits and compliance letters.

48.       Admission Material and Agreements.

49.       Copy of all Licenses.



                                             Exhibit G-3
1 10855143.8
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50.       Contracts with Vendors.

51.       Copy of Safety Program.


Passcodes

52.       All passcodes to social media accounts and the like.




                                            Exhibit G-4
1 10855143.8
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                                     Exhibit H

                         EXCEPTIONS TO NON-COMPETE




                                    Exhibit H-1
1 10855143.8
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                                               Exhibit I

                        BILL OF SALE AND GENERAL ASSIGNMENT

           THIS BILL OF SALE AND GENERAL ASSIGNMENT (this "Assi nment") is made as
 of the          day of              20     (the "Transfer Date"), by and between
                          a               ("Assignor"), and                    ,a
                     ("Assi nee").

         A.    Assignor and certain affiliates thereof, as seller, and [NBR Acquisition Rye, LLC]
("Northbridge"), as buyer, entered into that certain Purchase and Sale Agreement dated as of
                20      (the "Purchase Agreement") in connection with, inter alia, that certain
 senior housing facility commonly known as                     ,located in                    (the
"Facility"

       B.      Northbridge's rights under the Purchase Agreement with respect to the Facility
 have been assigned to Assignee pursuant to an assignment agreement by and between
 Northbridge and Assignee of even date herewith.

         C.      Pursuant to the Purchase Agreement, Assignor has agreed to assign, transfer and
 convey all of its rights, title and interest in, to and under the Personal Property with respect to the
 Facility to Assignee.

         D.     Pursuant to the Purchase Agreement, Assignor has agreed to assign, and Assignee
 agreed to assume, all of Assignor's rights, title, interest, obligations and liabilities in, to and
 under the contracts and agreements with respect to the Facility set forth on Exhibit B attached
 hereto (collectively, the "Contracts").

                                            AGREEMENT

        NOW,THEREFORE,for good and valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, the parties hereby agree as follows:

       1.      Personal Property. Assignor hereby sells, assigns, transfers and conveys unto
Assignee all of Assignor's rights, title and interest in, to and under all Personal Property,
including, without limitation, (i) all trade names and trademarks associated with the Facility,
including, without limitation, the name "                      "and the trade names set forth in
Exhibit B to the Purchase Agreement, and (ii) all vehicles and equipment listed on Exhibit A
attached hereto, subject only to the Permitted Personal Property Liens, as is, where is and
without warranty, express or implied, of merchantability or fitness for a particular purpose,
except as set forth in the Purchase Agreement, TO HAVE AND TO HOLD all of said Personal
Property unto Assignee, its successors and assigns, to its own use forever.

         2.      Assignment of Contracts. Assignor hereby assigns to Assignee all of Assignor's
rights, title and interests in, to and under the Contracts, and Assignee hereby assumes Assignor's
obligations under the Contracts accruing on or after the Transfer Date.




                                              Exhibit I-1
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       3.      Indemnity by Assignor. Assignor agrees to indemnify, defend and hold Assignee
harmless from and against any and all losses, costs, claims, damages, liabilities and expenses,
including, without limitation, reasonable attorneys' fees and expenses, accruing prior to the
Transfer Date relating to the Personal Property or the Contracts.

       4.      Indemnity of Assignee. Assignee agrees to indemnify, defend and hold Assignor
harmless from and against any and all losses, costs, claims, damages, liabilities and expenses,
including, without limitation, reasonable attorneys' fees and expenses, accruing on or after the
Transfer Date relating to the Personal Property or the Contracts.

        5.      Prevailin~y. In the event of any legal or equitable proceeding to enforce any
of the terms or conditions of this Assignment, or any alleged disputes, breaches, defaults or
misrepresentations in connection with any provision of this Assignment, the prevailing party in
such proceeding shall be entitled to recover its reasonable costs and expenses, including, without
limitation, reasonable attorneys' fees and costs of defense paid or incurred in good faith.

        6.      Bindin gEffect. This Assignment shall inure to the benefit of and be binding upon
the parties hereto and their respective permitted successors and assigns.

       7.       Severability. If any provision of this Assignment as applied to either party or to
any circumstance shall be adjudged by a court of competent jurisdiction to be void or
unenforceable for any reason, the same shall in no way affect (to the maximum extent
permissible by law) any other provision of this Assignment, the application of any such
provision under circumstances different from those adjudicated by the court, or the validity or
enforceability ofthis Assignment as a whole.

        8.    Counterparts. This Assignment may be executed in one or more counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument. Signature pages may be detached from the counterparts and attached to a
single copy ofthis Assignment to physically form one document.

       9.     Definitions. Capitalized terms used and not otherwise defined herein shall have
the meanings given to such terms in the Purchase Agreement.




                                           Exhibit I-2
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          IN WITNESS WHEREOF, the parties have executed this Assignment as of the
              day of      ,20

                                       ASSIGNOR:


                                                                                a


                                       By:                                 ,a


                                               By:
                                                        Name:
                                                        Title:

                                       ASSIGNEE:


                                                                            ,a
                                                          limited liability company

                                        i
                                               Name:
                                               Title:




                                      Exhibit I-3
1 10855143.8
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                                               Exhibit J

                    ASSIGNMENT AND ASSUMPTION OF LEASES AND
                            RESIDENCY AGREEMENTS

       THIS ASSIGNMENT AND ASSUMPTION OF LEASES AND RESIDENCY
 AGREEMENTS (this "Assi nment") is made as of the   day of         20    (the
"Transfer Date"), by and between                           a
("Assignor"), and                                 a          limited liability
 company ("Assignee").

         A.    Assignor and certain affiliates thereof, as seller, and [NBR Acquisition Rye], LLC
("Northbridge"), as buyer, entered into that certain Purchase and Sale Agreement dated as of
                20      (the "Purchase Agreement") in connection with, inter alia, that certain
 senior housing facility commonly known as                     ,located in                    (the
"Facility")

       B.      Northbridge's rights under the Purchase Agreement with respect to the Facility
 have been assigned to Assignee pursuant to an assignment agreement by and between
 Northbridge and Assignee of even date herewith.

        C.      Pursuant to the Purchase Agreement, Assignee has agreed to assign, and Assignee
 has agreed to assume, all of Assignor's rights, title, interest, obligations and liabilities in, to and
 under the leases and residency agreements in connection with the Facility set forth on Exhibit A
 attached hereto (collectively, the "Residency Agreements").

                                            AGREEMENT

        NOW,THEREFORE,for good and valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, Assignor and Assignee hereby agree as follows:

        1.      Assignment. Assignor hereby assigns, transfers, sets over and conveys to
 Assignee all of Assignor's rights, title and interest in, to and under the Residency Agreements
 accruing from and after the Transfer Date, including, without limitation, all security deposits and
 prepaid rent with respect thereto.

        2.      Assumption. Assignee hereby assumes and agrees to perform all of Assignor's
 obligations under the Residency Agreements accruing from and after the Transfer Date.

        3.     Indemnit~v Assi nor. Assignor agrees to indemnify, defend and hold Assignee
 harmless from and against any and all losses, costs, claims, damages, liabilities and expenses,
 including, without limitation, reasonable attorneys' fees and expenses, accruing prior to the
 Transfer Date relating to the Residency Agreements.

        4.      Indemnity of Assignee. Assignee agrees to indemnify, defend and hold Assignor
 harmless from and against any and all losses, costs, claims, damages, liabilities and expenses,
 including, without limitation, reasonable attorneys' fees and expenses, accruing on or after the
 Transfer Date relating to the Residency Agreements.

                                              Exhibit J-1
 1 10855143.8
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        5.      Prevailing Party. In the event of any legal or equitable proceeding to enforce any
of the terms or conditions of this Assignment, or any alleged disputes, breaches, defaults or
misrepresentations in connection with any provision of this Assignment, the prevailing party in
such proceeding shall be entitled to recover its reasonable costs and expenses, including, without
limitation, reasonable attorneys' fees and costs of defense paid or incurred in good faith.

        6.      BindinsmE      . This Assignment shall inure to the benefit of and be binding upon
the parties hereto and their respective permitted successors and assigns.

       7.      Severability. If any provision of this Assignment as applied to either party or to
any circumstance shall be adjudged by a court of competent jurisdiction to be void or
unenforceable for any reason, the same shall in no way affect (to the maximum extent
permissible by law) any other provision of this Assignment, the application of any such
provision under circumstances different from those adjudicated by the court, or the validity or
enforceability of this Assignment as a whole.

        8.    Counterparts. This Assignment may be executed in one or more counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument. Signature pages may be detached from the counterparts and attached to a
single copy ofthis Assignment to physically form one document.

       9.     Definitions. Capitalized terms used and not otherwise defined herein shall have
the meanings given to such terms in the Purchase Agreement.

        IN WITNESS WHEREOF, Assignor and Assignee have each executed this Assignment
as of the date first written above as a sealed instrument.

                              ASSIGNOR:                                               ,a




                                                    Name:
                                                    Title:

                              ASSIGNEE:                                          ,a
                                                               limited liability company



                                                    Name:
                                                    Title:




                                           Exhibit J-2
1 10855143.8
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                                                Exhibit K

                                           FIRPTA Affidavit

 Section 1445 of the Internal Revenue Code of 1986, as amended, provides that a transferee of a
 United States real property interest must withhold tax if the transferor is a foreign person. To
 inform the Transferee (hereinafter defined) that withholding of tax is not required upon the
 disposition of a United States real property interest by                                       ,
 a              (the "Transferor") to                                             ,a
(the "Transferee"), the undersigned, being first duly sworn upon oath, does hereby depose and
 say, and does hereby certify the following on behalf of the Transferor:

 1         The undersigned is the _                          of the Transferor and is familiar with the
           business of the Transferor;

2.         The Transferor is not a foreign person; that is, the Transferor is not a nonresident alien, a
           foreign corporation, foreign partnership, foreign trust or foreign estate (as all such terms
           are defined in the Internal Revenue Code of 1986, as amended, and United States
           Treasury Department Income Tax Regulations in effect as of the date hereof;

 3.        The Transferor is a corporation duly organized, validly existing and in good standing
           under the laws of the State of            ;

4.         The Transferor's United States employer identification number is                ;

 5.        The    Transferor's    office    address    and    principal    place    of   business     is
                                    and

6.         This certificate and affidavit is made to induce the Transferee to consummate the
           transactions contemplated by the Transferor and Transferee.

 The Transferor understands that this affidavit and certification may be disclosed to the United
 States Internal Revenue Service by the Transferee and that any false statement contained herein
 could be punished by fine, imprisonment, or both.

 Under penalties of perjury, the undersigned declares that he has examined this affidavit and
 certificate, and to the best of the undersigned's knowledge and belief, it is true, correct and
 complete. The undersigned further declares that he has authority to sign this affidavit and
 certificate on behalf ofthe Transferor.




                                               Exhibit K-1
 1 10855143.8
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This affidavit and certificate is executed and delivered as of the    day of                    ,
20


                                             a


                                              C
                                                       Name:
                                                       Title:


STATE OF
                                 SS.
COUNTY OF

       I,                               a notary public in and for said County, in the State
aforesaid, DO HEREBY CERTIFY that                                       personally known to me to
be the                         of                                                  ,a            ,
and personally known to me to be the same person whose name is subscribed to the foregoing
instrument, appeared before me this day in person and acknowledged that as such
                  he/she signed and delivered the said instrument, pursuant to authority, given by
the Board of Directors of said corporation as his/her free and voluntary act, and as the free and
voluntary act of said corporation, for the uses and purposes herein set forth.

          GIVEN under my hand and official seal this         day of            ,20

                                             Notary Public


                                             My Commission Expires:




                                           Exhibit K-2
1 10855143.8
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                                      Exhibit L

                                    Title Matters




                                     Exhibit L-1
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                                     Exhibit M

                                     Rent Roll




                                    Exhibit M-1
1 10855143.8
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                                      Exhibit N

                                  Service Contracts




                                     Exhibit N-1
1 10855143.8
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                                     Exhibit O

                                  List of Employees




                                     Exhibit O-1
1 10855143.8
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                                      Exhibit P

                                 Employment Matters




                                     Exhibit P-1
1 10855143.8
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                                      Exhibit

                             List of Environmental Reports




                                      Exhibit Q-1
1 10855143.8
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                                            Exhibit R

                                       Notice Addresses

(a)       Seller:                                          With a copy to:


                                                           Camden National Bank
                                                           c/o Jeremy R. Fischer, Esq.
                                                           84 Marginal Way, Suite 600
                                                           Portland, ME 04101-2480
                                                           Phone: 207 772-1941
                                                           Fax: 207 772-3627
                                                           Email:jfischer@dwmlaw.com




(b)       Buyer:                                          With a copy to:

          NBR Acquisition Rye, LLC                        Carlton Fields
          15 Third Avenue                                 One State Street, Suite 1800
          Burlington, MA 01803                            Hartford, CT 06103
          Attn: James C. Coughlin, Managing Member        Attn: Frank A. Appicelli, Esq.
          Phone: (781)238-4851                            Phone: 860-392-5015
          Fax: (781)272-0846                              Fax: 860-392-5058
          Email: jim@northbridgecos.com                   Email: fappicelli@carltonfields.com

(c)       Escrow Agent and Title Company:

          Stewart Title Guaranty Company
          1 Washington Mall —Suite 1400
          Boston, MA 02108

          Attn: Joseph P. Sullivan
          Phone: 617-933-2425
          Fax: 617-737-8370
          Email: joseph.sullivan@stewart.com




                                            Exhibit R-1
1 10855143.8
